Case 4:25-cv-03198               Document 1-1               Filed on 07/09/25 in TXSD              Page 1 of 43
                                                                                                        CT Corporation
                                                                                         Service of Process Notification
                                                                                                                 04/03/2025
                                                                                                    CT Log Number 548796190


Service of Process Transmittal Summary

TO:       Brette Kranz, Legal Executive Assistant
          Minerals Technologies Inc.
          622 3rd Ave Fl 38
          New York, NY 10017-6729

RE:       Process Served in Delaware

FOR:      Minerals Technologies Inc. (Domestic State: DE)


ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                        Re: JOHN E. MARICICH, JR.; and KYM MARICICH BENEDICT // To: Minerals Technologies
                                        Inc.
CASE #:                                 25CV116787

NATURE OF ACTION:                       Asbestos Litigation - Personal Injury

PROCESS SERVED ON:                      The Corporation Trust Company, Wilmington, DE

DATE/METHOD OF SERVICE:                 By Process Server on 04/03/2025 at 09:54

JURISDICTION SERVED:                    Delaware

ACTION ITEMS:                           CT will retain the current log

                                        Image SOP

                                        Email Notification, Brette Kranz Brette.Kranz@Mineralstech.com

                                        Email Notification, Thomas Meek thomas.meek@mineralstech.com

                                        Email Notification, Timothy Jordan Timothy.Jordan@mineralstech.com

                                        Email Notification, Judy Geiser judy.geiser@mineralstech.com

                                        Email Notification, Joseph Meadows Joseph.Meadows@mineralstech.com

REGISTERED AGENT CONTACT:               The Corporation Trust Company
                                        1209 Orange Street
                                        Wilmington, DE 19801
                                        866-401-8252
                                        LargeCorporationTeam@wolterskluwer.com



The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion,
and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other
information contained in the included documents. The recipient(s) of this form is responsible for reviewing and interpreting the
included documents and taking appropriate action, including consulting with its legal and other advisors as necessary. CT
disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be
contained therein.




                                                                                                                      Page 1 of 1
        Case 4:25-cv-03198   Document 1-1      Filed on 07/09/25 in TXSD    Page 2 of 43



                                                                           Wolters Kluwer
                    PROCESS SERVER DELIVERY DETAILS



Date:                                       Thu, Apr 3, 2025
Server Name:                                Selena Cabrera




Entity Served                MINERALS TECHNOLOGIES INC.

 Case Number                 25CV116787
 Jurisdiction                DE



                                             Inserts
                Case 4:25-cv-03198                    Document 1-1                 Filed on 07/09/25 in TXSD                  Page 3 of 43
                                                                                                                                                      SUM-100
                                              SUMMONS                                                                 (
                                                                                                                          FOR COURT USE ONLY
                                                                                                                       SOLO PAPA USO DE LA CORTE)
                                     (CITACION JUDICIAL)
 NOTICE TO DEFENDANT:                                                                                     ELECTRONICALLY FILED
(AVISO AL DEMANDADO):                                                                                        Superior Court of California
                                                                                                                 County of Alameda
 CHATTEM, INC., individually, as alter ego of, and as successor-in-interest to
 THE GOLD BOND STERILIZING POWDER COMPANY a/k/a THE GOLD                                                                 03/25/2025
 BOND COMPANY, et al.(See attached Additional Parties Attachment for                                      Chad Fad,Ex&xfr Ohicer OCtork tittle! Qua
 complete list of defendants.)                                                                             BY:             A. Katibo                Decay
 YOU ARE BEING SUED BY PLAINTIFFS:
( LO ESTA DEMANDANDO EL DEMANDANTE):
 JOHN E. MARICICH, JR.; and KYM MARICICH BENEDICT

   NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
   below.
      You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
  served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
  case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
  Online Self-Help Center (www.courtinfo.ca.goviselfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
   the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
   may be taken without further warning from the court.
      There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
   referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
   these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
  (www.courtinfo.ca.goviselfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
  costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
  /AVISOI Lo han demandado. Si no responde dentro de 30 dias, la code puede decidir en su contra sin escuchar su version. Lea la informaciOn a
  continuaciOn.
      Tiene 30 0/AS DE CALENDARIO despues de que le entreguen esta citaciOn y papeles legates pare presentar una respuesta por escrito en esta
  code y hacer que se entregue una copia al demandante. Una carta o una Ilemada telef6nica no lo protegen. Su respuesta por escrito tiene que estar
  en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un form ulario que usted pueda usar pare su respuesta.
  Puede encontrar estos formularios de la code y mas informacido en el Centro de Ayuda de las Codes de California (www.sucorte.ca.gov), en la
   biblioteca de leyes de su condado o en la corte que le quede mas cerca. Si no puede pager la cuota de presentacion, pida al secreted° de la corte
  que le de un formulario de exencion de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
  podra guitar su sueldo, diner° y bienes sin mas advertencia.
      Hay otros requisitos legates. Es recomendable que Ilame a un abogado inmediatamente. Si no conoce a un abogado, puede Ilamar a un servicio de
  remisiOn a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos pare obtener servicios legates gratuitos de un
  programa de servicios legates sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
 (Nww.lawhelpcalifornia.org), en el Centro de Ayuda de las Codes de California, (www.sucorte.ca.gov) o poniendose en contacto con la carte o el
  colegio de abogados locales. AVISO:Parley, la code tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sabre
  cualquier recuperacion de $10,0006 mas de valor recibida mediante un acuerclo o una concesiOn de arbitraje en un caso de derecho civil. Tiene que
  pagar el gravamen de la code antes de que la code pueda desechar el caso.
 The name and address of the court is:                                                                       CASE NUMBER:
                                                                                                            (NOmem del Caso): 250V1 1 6787
(El nombre y direcciOn de la corte es):
 SUPERIOR COURT
 County of Alameda
 Rene C. Davidson Courthouse
 1225 Fallon St.
 Oakland, 94612
 The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nombre, la direcciOn y el flamer° de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
 VVilliam H. Cross, Esq. C.S.B. #337801 510-302-1000 510-835-4913
 Kazan,McClain, Satterley & Greenwood, A Professional Law Corporation
 55 Harrison St, Suite 400, Oakland CA 94607                                                              A. Kargbo

 DATE: 03/25/2025                                                                     Clerk, by           A*Wfok                                     , Deputy
                                     Chad Finke, Executive Officer/ Clerk ofthe Court
(Fecha)                                                                               (Secretario)                                                  (Adjunto)

(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citatiOn use el formulario Proof of Service of Summons,(POS-010)).
                                         NOTICE TO THE PERSON SERVED: You are served
                                         1.    0as an individual defendant.
                                         2.    0as the person sued under the fictitious name of (specify):
                                                                        ' MINERALS TECHNOLOGIES INC.
                                         3.     El on behalf of (specify):
                                              under:   0CCP 416.10 (corporation)                 0CCP 416.60(minor)
                                                          El
                                                           CCP 416.20 (defunct corporation)      0CCP 416.70 (conservatee)
                                                       0CCP 416.40(association or partnership)       CCP 416.90 (authorized person)
                                                         0 other (specify):
                                     (
                                     4. b y personal delivery on (date):
                                                                                                                       ,2o25                            Page 1 of 1
  Form Adopted for Mandatory Use                                                                                               Code of Civil Procedure §§ 412.20.465
    Judicial Council of California
                                                                           SUMMONS                                                               www.courtinfo.ca.gov
    SUM-100[Rev. July 1.2009]
               Case 4:25-cv-03198                Document 1-1        Filed on 07/09/25 in TXSD                Page 4 of 43


                                                                                                                           SUM-200(A)
    SHORT TITLE: JOHN E. MARICICH, JR.; and KYM MARICICH BENEDICT v.                           CASE NUMBER:

    CHATTEM, INC., individually, as alter ego of, and as successor-in-interest to THE
    GOLD BOND STERILIZING POWDER COMPANY a/k/a THE GOLD BOND
    COMPANY, et al.

                                                         INSTRUCTIONS FOR USE
   4 This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
   4 If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
     Attachment form is attached."

    List additional parties (Check only one box. Use a separate page for each type of patty.):

     0         Plaintiff            Defendant    0 Cross-Complainant      0 Cross-Defendant

LIST OF ALL DEFENDANTS:

CHATTEM,INC., individually, as alter ego of, and as successor-in-interest to THE GOLD BOND
STERILIZING POWDER COMPANY a/k/a THE GOLD BOND COMPANY;
SHULTON INC., individually, as alter ego of, and as successor-in-interest to SHULTON GROUP and/or
SHULTON,INC.;
MERCK & CO.,INC., individually, as alter-ego of, and as successor-in-interest to SCHOLL,INC. and
SCHERING-PLOUGH CORPORATION;
L'OREAL USA,INC., individually and as successor-in-interest, parent, alter ego, and equitable trustee of
WARNER COSMETICS ENTERPRISES,INC., WARNER COSMETICS INCORPORATED,and PARFUMS
PALOMA PICASSO,INC.;
PFIZER, INC.;
ALBERTSONS COMPANIES,INC.,
CVS PHARMACY,INC.;
LONGS DRUG STORES CALIFORNIA,L.L.C., individually, as alter-ego of, and as successor-in-interest to
LONGS DRUG STORES CALIFORNIA,INC.;
MINERALS TECHNOLOGIES INC.;
PERRIGO COMPANY OF TENNESSEE, individually, as alter-ego of, and as successor-in-interest to
CUMBERLAND-SWAN INC. and CMC,INC.;
PTI UNION,LLC,a/k/a PHARMA TECH INDUSTRIES;
SAFEWAY INC.;
TARGET CORPORATION;
THRIFTY CORPORATION;
SPECIALTY MINERALS INC.;
VI-JON, INC., individually, as alter-ego of, and as successor-in-interest to CUMBERLAND SWAN
HOLDINGS,INC.;
WALMART INC.;
FIRST DOE through ONE HUNDREDTH DOE,


                                                                                                                                  Page 1 of 1
 Form Adopted for Mandatory Use
   Judicial Council of California
                                                ADDITIONAL PARTIES ATTACHMENT
SUM-200(A)[Rev. January 1,2007]                       Attachment to Summons
                                      Case 4:25-cv-03198         Document 1-1           Filed on 07/09/25 in TXSD              Page 5 of 43




                                       1   Joseph D. Satterley, Esq. (C.S.B. #286890)
                                            jsatterley@kazanlaw.com                                                    ELECTRONICALLY FILED
                                       2   Teresa Allen, Esq. (C.S.B. #264865)                                          Superior Court of California,
                                            tallen@kazanlaw.com
                                       3   William H. Cross, Esq. (C.S.B. #337801)                                         County of Alameda
                                            wcross@kazanlaw.com                                                        03/25/2025 at 08:07:19 PM
                                       4   KAZAN, McCLAIN, SATTERLEY & GREENWOOD                                                 By: Pbdul Kargbo,
                                           A Professional Law Corporation                                                          Deputy Clerk
                                       5   Jack London Market
                                           55 Harrison Street, Suite 400
                                       6   Oakland, California 94607
                                           Telephone: (510) 302-1000
                                       7   Facsimile: (510) 835-4913

                                       8 Attorneys for Plaintiffs

                                       9                       SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                      10                                        COUNTY OF ALAMEDA
                                 8
                                 11   11

                                   12 JOHN E. MARICICH, JR.; and                                  Case No. 2 5CV 1 1 6 7 07
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                                 5
                                 • 13 KYM MARICICH BENEDICT,                                     COMPLAINT FOR PERSONAL
                                                                                                 INJURIES AND LOSS OF CONSORTIUM
                                 -▪ 14                   Plaintiffs,
                                                                                                 DEMAND FOR JURY TRIAL
                                 • 15            v s.


                                 . 16 CHATTEM, INC., individually, as alter ego
                                       of, and as successor-in-interest to THE GOLD
                                    17 BOND STERILIZING POWDER
                                       COMPANY a/lc/a THE GOLD BOND
                                 6' 18 COMPANY;

                                      19 SHULTON INC., individually, as alter ego of,
                                         and as successor-in-interest to SHULTON
                                      20 GROUP and/or SHULTON, INC.;

                                      21 MERCK & CO., INC., individually, as alter-
                                         ego of, and as successor-in-interest to
                                      22 SCHOLL, INC. and SCHERING-PLOUGH
                                         CORPORATION;
                                      23
                                         L'OREAL USA, INC., individually and as
                                      24 successor-in-interest, parent, alter ego, and
                                         equitable trustee of WARNER COSMETICS
                                      25 ENTERPRISES, INC., WARNER
                                         COSMETICS INCORPORATED, and
                                      26 PARFUMS PALOMA PICASSO, INC.;

                                      27 PFIZER, INC.;

                                      28   ALBERTSONS COMPANIES, INC.,


                                                          Complaint for Personal Injuries and Loss of Consortium; Demand for Jury Trial
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 I   CVS PHARMACY,INC.;

 2 LONGS DRUG STORES CALIFORNIA,
   L.L.C., individually, as alter-ego of, and as
 3 successor-in-interest to LONGS DRUG
   STORES CALIFORNIA,INC.;
 4
   MINERALS TECHNOLOGIES INC.;
 5
   PERRIGO COMPANY OF TENNESSEE,
 6 individually, as alter-ego of, and as successor-
   in-interest to CUMBERLAND-SWAN NC.
 7 and CMC,INC.;

 8 PTI UNION,LLC,a/Ida PHARMA TECH
   INDUSTRIES;

     SAFEWAY INC.;

     TARGET CORPORATION;

     THRIFTY CORPORATION;

     SPECIALTY MINERALS INC.;

     VI-JON, INC., individually, as alter-ego of,
     and as successor-in-interest to
     CUMBERLAND SWAN HOLDINGS,INC.;

     WALMART INC.;

     FIRST DOE through ONE HUNDREDTH
     DOE,

                    Defendants.



20                                       GENERAL BACKGROUND

21                                                        I.

22          The Plaintiffs: John E. Maricich, Jr. ("Plaintiff' herein) is the physically injured Plaintiff.

23 He has malignant mesothelioma that was caused by his cumulative exposures to asbestos,

24 asbestiform fibers, asbestiform talc, asbestos-containing talc, and asbestos-containing limestone —

25 collectively referred to herein as asbestos — including the asbestos exposures for which Defendants

26 bear responsibility. Plaintiff's spouse is Kym Maricich Benedict. Plaintiffs live in California.

27

28          The Defendants: All Defendants are listed in the case caption. The true names of the

                                                          2
                     Complaint for Personal Injuries and Loss of Consortium; Demand for Jury Trial
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                                  1   Defendants sued as DOE's are unknown to Plaintiff. Each Defendant was the agent, employee, or

                                  2 joint venturer of its co-Defendants and acted in the full course and scope ofthe agency,employment,

                                  3 or joint venture.

                                  4

                                  5          Alternate Entities: All Defendants are individually liable for their defective products and

                                  6 wrongful conduct, and some Defendants are liable for the defective products and wrongful conduct

                                  7 of their alternate entities. Each such Defendant is liable for the torts of each of its alternate entities

                                  8 because:

                                             •       there were express or implied agreements between the companies to transfer
                                                     and assume the liabilities;

                                             •       the transactions between the companies amounted to a consolidation or
                                                     merger;

                                             •       the purchasing company is a mere continuation of the seller;
A Professional Law Corporation




                                                     the transfer of assets to the purchasing company was for the fraudulent
                                                     purpose of escaping liability for the seller's debts;

                                             •       strict products liability was transferred because(I)there was a virtual
                                                     destruction of Plaintiff's remedies against the original manufacturer caused
                                                     by the successor's acquisition of the business,(2)the successor has the
                                                     ability to assume the original manufacturer's risk-spreading role, and (3) it
                                                     is fair to require the successor to assume responsibility for defective
                                                     products that was a burden necessarily attached to the original
                                                     manufacturer's goodwill being enjoyed by the successor in the continued
                                                     operation of the business; and

                                             •       the companies are alter egos because (1)there is such a unity of interest,
                                                     ownership, and business operations between the companies that their
                                 20                  separate personalities do not in reality exist, and (2)there would be an
                                                     inequitable result if the torts in question were treated as those of one
                                 21                  company alone.

                                 22          The identities of the Defendants and their alternate entities are as follows:

                                 23        Defendant                                  Alternate Entities
                                       CHATTEM,INC.                 THE GOLD BOND STERILIZING POWDER COMPANY a/k/a
                                 24                                 THE GOLD BOND COMPANY

                                 25    L'OREAL USA,INC.,            WARNER COSMETICS ENTERPRISES,INC.
                                                                    WARNER COSMETICS INCORPORATED
                                 26                                 PARFUMS PALOMA PICASSO,INC.
                                 27    LONGS DRUG         LONGS DRUG STORES CALIFORNIA,INC.
                                       STORES
                                 28    CALIFORNIA,L.L.C.,

                                                                                           3
                                                      Complaint for Personal Injuries and Loss of Consortium; Demand for Jury Trial
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                                                         1         DTI'ericlMil                            Alterl'atTIETiiiies
                                                               MERCK & CO., INC           SCHOLL,INC
                                                         2                                SCHERING-PLOUGH CORPORATION

                                                         3     PERRIGO COMPANY CUMBERLAND-SWAN,INC.
                                                               OF TENNESSEE    CMC,INC.
                                                         4
                                                               SHULTON INC.               SHULTON GROUP
                                                         5                                SHULTON,INC.
                                                         6     VI-JON,INC.                CUMBERLAND SWAN HOLDINGS,INC.
                                                         7

                                                         8                                                      IV.
                                                         9          Venue: Venue is proper in Alameda County because certain Defendants reside in Alameda
                                                        10 County, and because some of Plaintiff's exposures to Defendants' asbestos occurred in locations

                                                        11   including Alameda County.
                                                        12                                                       V.
A Professional Law Corporation




                                                        13          The Asbestos Exposures: Plaintiff was exposed, exclusively in California, to significant
                                                        14 levels of asbestos dust because of his use of asbestos-containing cosmetic talc products. Plaintiff's

                                                        15 above-described asbestos exposures occurred because of Defendants' products that were sold in

                                                        16 California; and because of Defendants' conduct that occurred in, and/or that was directed toward,
                                 Jack London Market •




                                                        17 California. At all times, Defendants purposefully availed themselves of the California market,

                                                        18 through marketing and sales of Defendants' relevant products, and through Defendants' relevant

                                                        19 conduct. Additionally, Defendants are "at home" in California, because California is one of their

                                                        20 largest, if not the largest, markets in the United States; and because certain Defendants reside in

                                                        21 California.

                                                        22          Plaintiff John E. Maricich, Jr. developed malignant mesothelioma as a result of exposure to
                                                        23 asbestiform fibers through his use of, and exposure to the Defendants' asbestos-containing products,

                                                        24 asbestos-containing talc, finished and unfinished talcum powder products, and/or asbestos-

                                                        25 containing cosmetics, including:

                                                        26          ALBERTSONS COMPANIES, INC. (as a supplier of asbestos-containing talcum
                                                        27 powder, including its own generic brands oftalcum powder); CHATTEM,INC.(individually and

                                                        28 as successor-in-interest, parent, alter ego, and equitable trustee of THE GOLD BOND

                                                                                                                 4
                                                                            Complaint for Personal Injuries and Loss of Consortium; Demand for Jury Trial
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                                  1   STERILIZING POWDER COMPANY a/k/a THE GOLD BOND COMPANY)(for its asbestos-

                                  2 containing talcum powder, including but not limited to, Gold Bond); CVS PHARMACY,INC.(as

                                  3 a supplier of asbestos-containing talcum powder, including its own generic brands of talcum

                                  4 powder); LONGS DRUG STORES CALIFORNIA,L.L.C.(individually, as alter-ego of, and as

                                  5 successor-in-interest to LONGS DRUG STORES CALIFORNIA,INC.)(as a supplier ofasbestos-
                                  6 containing talcum powder, including its own generic brands oftalcum powder); L'OREAL USA,

                                  7 INC.(individually and as successor-in-interest, parent, alter ego, and equitable trustee of WARNER

                                  8 COSMETICS ENTERPRISES, INC., WARNER COSMETICS INCORPORATED, and

                                      PARFUMS PALOMA PICASSO,INC..)(for its asbestos-containing talcum powder, including but

                                      not limited to, Paloma Picasso); MERCK & CO., INC. (individually, as alter-ego of, and as

                                      successor-in-interest to SCHOLL, INC. and SCHERING-PLOUGH CORPORATION) (for its

                                      asbestos-containing talcum powder, including but not limited to, Dr. Scholls Foot Powder);
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                                      MINERALS TECHNOLOGIES INC.(as a supplier of asbestos-containing talc); PERRIGO

                                      COMPANY OF TENNESSEE (individually, as alter-ego of, and as successor-in-interest to

                                      CUMBERLAND-SWAN, INC. and CMC, INC.) (for its asbestos-containing talcum powder);

                                      PFIZER,INC.(as a supplier of asbestos-containing talc); PTI UNION, LLC (as a supplier of

                                      asbestos-containing talcum powder); SAFEWAY INC. (as a supplier of asbestos-containing

                                      talcum powder, including its own generic brands oftalcum powder); SPECIALTY MINERALS,

                                      INC.(as a supplier of asbestos-containing talc); TARGET CORPORATION (as a supplier of

                                 20 asbestos-containing talcum powder, including its own generic brands of talcum powder);

                                 21   THRIFTY CORPORATION (as a supplier ofasbestos-cbntaining talcum powder, including its

                                 22 own generic brands of talcum powder); SHULTON INC. (individually, as alter ego of, and as

                                 23 successor-in-interest to SHULTON GROUP and/or SHULTON,INC.)(for its asbestos-containing

                                 24 talcum powder, including but not limited to, Old Spice); VI-JON,INC.(individually, as alter-ego

                                 25 of, and as successor-in-interest to CUMBERLAND SWAN HOLDINGS, INC.)(for its asbestos-

                                 26 containing talcum powder); and WALMART INC.(as a supplier of asbestos-containing talcum

                                 27 powder, including its own generic brands oftalcum powder).

                                 28         Regarding Defendants MINERALS TECHNOLOGIES INC. and SPECIALTY

                                                                                         5
                                                    Complaint for Personal Injuries and Loss of Consortium; Demand for Jury Trial
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      1   MINERALS INC.(hereinafter known as the "Testing Defendants"), Plaintiffspecifically disclaims

      2 and does not allege that these Defendants manufactured, supplied, sold, distributed, and/or

      3 otherwise marketed talcum powder products. Testing Defendants were responsible for asbestos-

      4 analysis of raw and processed talc that was eventually supplied and used in the manufacture of

      5 cosmetic talcum powder products exposing Plaintiff John E. Maricich, Jr. Testing Defendants'

      6 negligence and fraud in testing and representing that this raw and processed talc was "asbestos-free"

      7 and/or "asbestos non-detect" caused Plaintiff to be further exposed to asbestos fibers leading to his

      8 disease. Testing Defendants purposefully availed themselves of California as, at times, Defendants'

          conduct occurred in, and/or was directed toward, California. At all times, Defendants purposefully

          availed themselves of the California market, through marketing of Defendants' relevant services,

          and through Defendants' relevant conduct. Further, Testing Defendants knew that the raw and

          processed talc they tested were bound for California markets and/or came from California mines.

                                                               VI.

                   The Harm: Plaintiff has malignant mesothelioma caused by his exposures to asbestos. The

          mesothelioma has caused, and will cause, Plaintiff to experience financial harm. The mesothelioma

          also has caused, and will cause, Plaintiff to experience physical pain, mental suffering, loss of

          enjoyment of life, disfigurement, physical impairment, inconvenience, grief, anxiety, humiliation,

          emotional distress, and other similar harm. And the mesothelioma will cause Plaintiff's untimely
(5




          death.

     20            Plaintiff's injuries have caused, and will cause, Kym Maricich Benedict to experience loss

     21 of consortium. Her harm includes the loss of love, companionship, comfort, care, assistance,

     22 protection, affection, society, moral support, sexual relations, and other similar harm.

     23            Plaintiffs rely upon the liability theories described below.

     24                                                        VII.

     25            State-of-the-Art Knowledge of Asbestos Hazards: The following facts are illustrative,

     26 but not exhaustive, of the evolution ofthe knowledge ofthe health hazards of asbestos and what

     27 was known and knowable to Defendants:

     28            I.     Health hazards from asbestos exposure were identified in the 1890's.

                                                                6
                           Complaint for Personal Injuries and Loss of Consortium; Demand for Jury Trial
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 1             During this time, the Lady Inspector of Factories in Great Britain noted that
               individuals working with asbestos were suffering various lung injuries.
 2
         2.    Defendants since the early 1900's possessed medical and scientific data that
 3             raised concerns regarding the presence of asbestos in talcum powder and
               that demonstrated the existence of health hazards to those exposed to
 4             asbestos-containing talcum powder products. Talc is a hydrous magnesium
               silicate, an inorganic material that is mined from the earth. Talc is used in
 5             the manufacture of goods such as paper, plastic, paint and coatings, rubber,
               food, electric cable, ceramics, and cosmetics. In its loose form and as used
 6             in consumer powder products, talc is known as "talcum powder."

 7       3.    Geologists and mining companies, including Defendants, have long known
               that the deposits in the earth that are associated with talc are also associated
 8             with the formation of asbestos. Asbestos is a commercial and legal term,
               rather than a geological or scientific term, referring to six now-regulated
               magnesium silicate minerals that occur in fibrous form, including the
               serpentine mineral chrysotile, and the amphibole minerals actinolite,
               anthophyllite, tremolite, amosite, and crocidolite. The United States
               Geological Survey on Commercial Talc production in 1965, as well as those
               dating back to the 1800's in the United States, note the presence of
               tremolite, anthophyllite, and chrysotile commonly among those minerals
               found within talc deposits.

         4.    As early as the 1920's, the term "asbestosis" was used to describe
               pulmonary fibrosis caused by asbestos exposure. Case reports in Great
               Britain and the United States detailed asbestosis in various workers.

         5.    By 1929, lawsuits for disability related to exposure to asbestos were filed
               against Johns Manville.

         6.    In the late 1930's, case reports were published addressing the relationship
               between asbestos and cancer.

         7.    Several reports, studies, and guidelines published as early as the 1930's,
               including California's Dust, Fumes, Vapors, and Gases Safety Orders, all
               recognized that asbestos is a dust which creates health hazards, and that
               certain precautions are required to mitigate human exposure to dust. Such
20             measures include, but are not limited to, using water to suppress the dust at
               its source, as well as providing those who might be exposed to dust with
21             adequate ventilation, showers, and changing facilities. These same measures
               that were recommended to protect workers from asbestosis in the 1930's
22             would also have substantially reduced the risk that bystanders, household
               members, and other persons would contract mesothelioma from inhaling
23             asbestos-containing dust that those who worked with and around asbestos
               and asbestos-containing products carried into their households on their
24             person and personal effects. Defendants, and each of them, knew or should
               have known that anyone, including household members of those who used
25             asbestos-containing products were at risk of developing an asbestos-related
               disease after inhaling dust from such asbestos-containing products.
26
         8.    In 1931, the United Kingdom allowed workers to receive compensation for
27             asbestosis.

28       9.    In March of 1933, Waldemar C. Dreesen of the United States Public Health

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                        1                Service reported to the National Safety Council the results of a study
                                         conducted among tremolite, talc, and slate workers. The study indicated that
                        2                the talc was a hydrous calcium magnesium silicate, being 45 percent talc
                                         and 45 percent tremolite, and the National Safety Council stated, "[title
                        3                results of the study seemed to indicate a relationship between the amount of
                                         dust inhaled and the effect of this dust on the lungs ofthe workers."
                        4
                                 10.     As early as 1934, the National Safety Council was publishing information
                        5                stating that "a cause of severe pulmonary injury is asbestos, a silicate of
                                         magnesium."
                        6
                                 1 1.   In the September 1935 issue of National Safety News, an article entitled No
                        7               Halfway Measures in Dust Control by Arthur S. Johnson reported lowered
                                         lung capacity resulting from "asbestosis" and "similar conditions" that
                        8               developed "from exposure to excess of many mineral dusts relatively low in
            r
            ci;
                                        free silica content." The article further noted that claims for disabilities from
           4,
           .            9                workers who alleged exposure to "clay, talc, emery, and carborundum
-ti                                     dusts" had "claims prosecuted successfully." The article concluded that
0          1                            "[in the absence of adequate diagnoses, occupational histories and a more
O
            ..) 8
           (1   .:                      satisfactory method of adjudicating claims than prosecution at common law,
0                                        we must conclude that it is necessary to find a practical method for
v               g
v                                       controlling all mineral dusts."
6 0 3 12
c21 I c, -                       12.     In 1936, California's Division of Industrial Safety issued Safety Orders
›tu, o ?   13                            establishing the standard of care for work with asbestos.
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IV,   0 •cnB" 1
              c`
               -
       C    tr ,
               Lq      14       13.      Also in 1936, Illinois enacted legislation recognizing asbestosis as a
rs TA
cr)         riph' a
                  c°                     compensable occupational disease under its Occupational Disease Act.
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•.- ... . ,
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                   15
                                14.      By the 1940's, asbestos carcinogenicity was noted in reviews in fields of
L)                 16                    industrial medicine, cancer research, and pneumoconiosis.
 U         0
        • 0
         t c..,17. 17           1 5.    In 1946, the private American Conference of Governmental Industrial
6          1 PI                         Hygienists established a maximum allowable concentration for occupational
 cl
 N          -' a 18                     exposure.
•          73
W
            g
                       19       16.      During the 1940's and 1950's, asbestos hazards were discussed in popular
           ...
             ,L4                         magazines, including Scientific American (January 1949) and Newsweek
                       20               (May 15, 1950), as well as the Encyclopedia Britannica (1952). On April 7,
                                         1959, the Los Angeles Times and Wall Street Journal reported that
                       21                California health officials did additional research linking asbestos with
                                         cancer. Following a number of subsequent reports in the New York Times,
                       22               Paul Brodeur published a series of articles in the New Yorker.

                       23       1 7.    In addition, beginning in the 1940's and 1950's, it was recognized that
                                        individuals who worked with asbestos materials, as well as those who did
                       24               not work directly with asbestos products but only had relatively brief or
                                        intermittent exposures to asbestos products, could develop fatal asbestos
                       25               diseases.

                       26       18.     In 1955, Richard Doll published a study linking asbestos to lung cancer.

                       27       19.     In 1960, Chris Wagner published a study linking asbestos to mesothelioma.

                       28       20.     In the early 1960's, Dr. Irving Selikoff engaged in studies of groups of

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                                  1             asbestos workers. By 1965, he had conducted various studies, published
                                                several articles, conducted special scientific symposia, been interviewed by
                                  2             the New York Times, and organized the international conference on the
                                                "Biological Effects of Asbestos" under the auspices of the renowned New
                                  3             York Academy of Sciences. The results of these presentations were
                                                published in Volume 132 of the Annals of the New York Academy of
                                  4             Sciences published in 1965.

                                  5       21.   In 1968, a study presented at the American Industrial Hygiene Conference
                                                and published in the American Industrial Hygiene Association Journal
                                  6             concluded that "[a]ll of the 22 talcum products analyzed have a..fiber
                                                content..averaging 19%. The fibrous material was predominantly talc but
                                  7             contained minor amounts of tremolite, anthophyllite, and chrysotile as these
                                                are often present in fibrous talc mineral deposits..Unknown significant
                                  8             amounts of such materials in products that may be used without precautions
                                                may create an unsuspected problem."[Cralley, L.J., et al., Fibrous and
                                                Mineral Content ofCosmetic Talcum Products, 29 Am. Ind. Hyg. Assoc. J.
                                                350(1968).]

                                          22.   In 1969, product-liability lawsuits were brought against asbestos
                                                manufacturers. Also, under the Walsh Healy Act, federal contractors with
                                                contracts of more than $10,000 were required to adhere to a workplace
                                                standard of no more than 12 fibers per cubic centimeter of air.
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                                          23.   In 1970, OSHA established the first Federal guidelines for workplace
                                                asbestos exposure, which took effect in 1971. Those regulations did not
                                                identify any known safe level of exposure for asbestos and mesothelioma.
                                                The OSHA asbestos regulations were strengthened during the 1970's and
                                                 1980's; and by 1986 the regulations explained:(1)the legally "permissible"
                                                levels for workplace asbestos exposures, even at just 0.2 f/cc, actually were
                                                inadequate to protect people against the risk of mesothelioma and lung
                                                cancer;(2)for carcinogens including asbestos,"no safe threshold level was
                                                demonstrable"; and (3) mesothelioma and lung cancer developed even after
                                                "low cumulative exposures to asbestos."

                                          24.   In 1972, the private American Conference of Governmental Industrial
                                                Hygienists listed asbestos as a carcinogen. Those industry standards did not
                                                identify any known safe level of exposure for asbestos and mesothelioma.
                                 20
                                          25.    A 1976 follow-up study conducted by researchers at Mt. Sinai concluded
                                 21             that "[t]he presence in these products of asbestiform anthophyllite and
                                                tremolite, chrysotile, and quartz indicates the need for a regulatory standard
                                 22             for cosmetic talc..We also recommend that evaluation be made to determine
                                                the possible health hazards associated with the use of these products."
                                 23             [Rohl, A.N., et al., Consumer Talcums and Powders: Mineral and Chemical
                                                Characterization, 2 J. Toxicol. Environ. Health 255 (1976).] The results of
                                 24             the Mount Sinai study were soon picked up and reported by both the New
                                                 York Times and the Washington Post that same year. The study and
                                 25             subsequent newspaper articles listed explicitly popular consumer cosmetic
                                                talcum powders as containing high percentages of asbestos.
                                 26
                                          26.   In the early 1970's, the Food and Drug Administration ("FDA") began an
                                 27             inquiry into whether to regulate and require warnings on consumer talcum
                                                powder products. Defendants, who were part of an exclusive lobbying and
                                 28             advocacy group representing companies engaged in the cosmetic products

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                                  1                 industry, repeatedly conspired and worked in concert to block efforts to
                                                    label and warn consumers regarding the dangers associated with cosmetic
                                  2                 talcum powder products.

                                  3          All Defendants failed to place any warning on their talc and talcum powder products or

                                  4 ever disclose the fact that these products contained asbestos, asbestiform fibers, and asbestiform

                                  5 talc at any point, up to and including present day, despite the clear hazard and direct information

                                  6 that their products did contain asbestos, asbestiform fibers, and asbestiform talc.

                                  7                                                     VIII.

                                  8          Additional Allegations as to all Defendants: The following facts are illustrative, but not

                                      exhaustive, of the Defendants' wrongful conduct.

                                             As noted above, Plaintiff had numerous exposures to asbestiform fibers through his use of

                                      and exposure to Defendants' talcum powder products. These products were purchased at Defendants

                                      Albertsons Companies, inc., CVS Pharmacy Inc., Longs Drug Stores California, L.L.C., Safeway
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                                      Inc., Target Corporation, Thrifty Corporation, and Walmart Inc.'s (hereinafter "the Retailers")

                                      California stores, including those located in Alameda County.

                                             All of the Retailers have been registered to do business in California and/or operate in

                                      California, and have numerous retail outlets and offices in California, and as such would be aware

                                      ofthe California Department of Industrial Relations Dusts, Fumes, Vapors and Gases Safety Orders

                                      which by 1939 regulated both talc and asbestos as materials that should be subject to maximum

                                      permissible concentrations (regarded as "toxic thresholds"), with asbestos having a maximum of 5

                                 20 million particles per cubic foot, and talc having a maximum of 15 million particles per cubic foot.

                                 21 The Retailers thus knew that both asbestos and talc have the potential to have toxic effects on the

                                 22 human body when exposure occurs over these concentrations.

                                 23          All Defendants ran advertisements in newspapers that also carried articles discussing the

                                 24 asbestos-related hazards ofcosmetic talc products, as well as the FDA's potential regulations.(See,

                                 25 e.g., October 17, 1973 Oakland Tribune, What's in Storefor Beauty Products?) These articles show

                                 26 that this information was knowable and known by Defendants.

                                 27          There were also several national newspaper and periodical articles, as well as California

                                 28 newspaper articles from the 1970's and 1980's regarding talc/asbestos hazards. For example:

                                                                                          10
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                                  1       July 6, 1971 New York Times, Kretchmer Says Most Industry Here Is Resisting
                                          Efforts to Curb Pollution (two brands of talcum showed 5-25% pure asbestos
                                  2       content);
                                  3
                                           June 16, 1972, New York Times, High Levels ofAsbestos Found in 3 Paints and 2
                                  4        Talcums Here (between 5-25% of baby powder believed to be asbestos);

                                  5        February 24, 1973 The Washington Post, Asbestos Hazards Found Widespread
                                          (Selikoff to Senate Subcommittee on the Environment: asbestos is found in
                                  6        talcums);
                                  7
                                          February 26, 1973 The Wall Street Journal, FDA Plans to Impose Limits on
                                  8       Asbestos in Certain Cosmetics (the FDA will establish a limit of 1% on asbestos
                                          impurities in talcum powder, talcum baby powder reported to contain 2-3%
                                          asbestos);

                                          March 8, 1976 The Washington Post, Asbestos Fibers Found in Baby Powder
                                         (Selikoff Study: concentrations of 2-20% asbestos fibers found in 10 of 19 talcum
                                          powder products tested);
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                                          March 10, 1976 New York Times, Asbestos Found in Ten Powders(reporting on
                                          Selikoff study finding 2-20% asbestos in 10 of 19 talcum powder products tested);

                                          March 17, 1976 Chemical Week, Cancer-link Inquiries (reporting on Selikoff study
                                          finding 2-20% asbestos in 10 of 19 talcum powder products tested);

                                          March 26, 1976 The Washington Post, Talcum Study Clarified by N.Y. Hospital
                                         (reporting on Selikoff study finding 2-20% asbestos in 10 of 19 talcum powder
                                          products tested, Selikoff notes that while FDA studies revealed no appreciable
                                          amounts of asbestos in talcum powders, the FDA's research methods aren't
                                          sensitive enough to measure asbestos below a certain level);

                                          May 1979 Food & Cosmetics Toxicology, Talc in the Ovaries;(talc found in
                                 20       human ovaries);

                                 21       January 1980 Vogue, New Cancer Suspect(asbestos and mineral talc are possible
                                          causes of ovarian cancer, reporting on August 18, 1979 The Lancet, Cosmetic Talc
                                 22
                                          And Ovarian Cancer);
                                 23
                                          April 15, 1981 San Diego Union,Skin Care is Touchy Subject(Jerome Litt, M.D.
                                 24       advises everyone to stop using talcum powder because it has asbestos in it);

                                 25       September 18, 1981 The Washington Post, Healthtalk: Brushofffor Baby Powder
                                         (reporting on Mofenson study, Baby Powder — A Hazard!, which study notes talc
                                 26
                                          may contain asbestos and that containers of talc should include a warning that the
                                 27       ingredients may be hazardous if aspirated);

                                 28

                                                                                       11
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                   1         September 22, 1981 Good Morning America (broadcast), Talcum Powder Can Be
                             Dangerous(reporting on Mofenson study, Baby Powder - A Hazard!, which study
                  2          notes talc may contain asbestos and that containers of talc should include a warning
                             that the ingredients may be hazardous if aspirated);
                  3
                             November 2, 1981 AP Wire, Baby Powder Use Could Pose Peril, Doctor Warns:
                  4          Maybe the baby shouldn't have its bottom dusted(reporting on Mofenson study,
                             Baby Powder -A Hazard!, which study notes talc may contain asbestos and that •
                  5          containers of talc should include a warning that the ingredients may be hazardous if
                             aspirated);
                  6
                             August 6, 1982 AP Wire, Talcum Powder Tied to Cancer (reporting on Cramer
                  7
                             study, Ovarian Cancer and Talc: A Case-Control Study, which study reports
                  8          support for an association between talc and ovarian cancer, hypothesized because
       1---                  of the similarity of ovarian cancer to mesotheliomas and the chemical relation of
       S          9          talc to asbestos, a known cause of mesotheliomas);
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            u
                             August 19, 1982 New York Daily News, How Safe is Your Baby: Household
                             hazards include products such as mouthwash and talc(baby powder and all talc
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 4.)    0 0 11
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                             can cause severe respiratory diseases if inhaled; use cornstarch instead);
64       c1 12
OS i 0 5                       January 1983 Self magazine, The dust-up over beauty powders (reporting on
                    13         Cramer study, Ovarian Cancer and Talc: A Case-Control Study, which study
7  ., 6 's                     reports support for an association between talc and ovarian cancer, hypothesized
 td, .3 'it; '-A: 14
'F3.       u oo                because of the similarity of ovarian cancer to mesotheliomas and the chemical
V)                             relation of talc to asbestos, a known cause of mesotheliomas, and on Henderson
      I         6: 1 5
 0"1                           and Griffiths study finding talc in ovarian cancer cells).
•cl ' A. x          16
 4.;            0
          •0    -
          4,7.1 c:, 17         These articles (and broadcast) show that this information was knowable and known to all
6
 as             Ff.
 NI                 18 Defendants, including but not limited the Retailers.
        ' 8
         -81        19         The Retailers, as entities that are within Defendants' chain of distribution to customers like
        ._
           ,L4
                    20 Plaintiff and Plaintiffs family owe a duty to consumers to discover defects before a product is sold

                 21 (and then warn or protect consumers); and to recall a product if a defect is discovered later. The

                 22 Retailers, however, did not do so and have not done so to this very day, despite having been sued in

                 23 asbestos cases beginning no later than the 1990s to early-to-mid 2000s and despite the fact that the

                 24 Retailers' insurers began including asbestos exclusions to their policies due to the Retailers' sale of

                 25 cosmetic talcum powder products, putting the Retailers on further notice of the hazards.

                 26          The Retailers willfully failed to investigate the knowable and known asbestos-related

                 27 hazards ofthe cosmetic talc products that they sold, including Defendants' talcum powder products.

                 28 The Retailers had no reason to believe that Defendants' talcum powder products that they sold were

                                                                           12
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                                  1   different from that sold by any other retailers — e.g., the Retailers did not request special bottles that

                                  2 contained talc from any different mine. The Retailers did not ask the manufacturers, marketers and

                                  3 distributors for any information relating to the hazards of Defendants' talcum powder products. The

                                  4 Retailers did not and do not hire their own scientists to evaluate the safety of the products that they

                                  5 sell — instead, the Retailers trust manufacturers and suppliers to satisfy any FDA requirements or

                                  6 industry standards. The Retailers' efforts to ensure product safety extend only to their handling and

                                  7 storage practices.

                                  8          The Retailers use software programs to maintain the talcum products' safety data sheets that

                                  9 they receive from the manufacturers. The Retailers likewise rely upon the manufacturers to label

                                 10 the products. The Retailers do not investigate whether the labels are accurate or legally sufficient.

                                 11   Before the Retailers begin selling any product, the manufacturer must provide a safety data sheet to

                                 12 the Retailers and/or the Retailers' vendors. But neither the Retailers, nor anybody on their behalf,
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                                 13 performs any independent review ofthe substance of these safety data sheets.

                                 14          Despite Retailers' actual and constructive knowledge of the hazards of asbestos in talcum

                                 15 powder products, the Retailers further chose to market and distribute their own "generic" brand of

                                 16 talcum powder products. The Retailers marketed their generic talcum powder products under their

                                 17 own brand name, and furthermore, controlled every aspect ofthe generic manufacturing, packaging,

                                 18 and labelling. Although the Retailers were aware that they could manufacture their powder products

                                 19 without asbestos-contaminated talc (by using corn starch), the Retailers specifically chose to use

                                 20 talcum powder to achieve cost-savings in their generic powder products. When packaging and

                                 21   labelling their generic talcum powder products, the Retailers specifically chose to not include

                                 22 warnings related to the hazards of asbestos—warnings that end-consumers, including Plaintiff,

                                 23 would have received and heeded. Moreover, the Retailers failed to pass on warnings they

                                 24 specifically received through safety data sheets—acting with conscious malice toward end

                                 25 consumers, including Plaintiff, by failing to pass on warnings regarding the dangers of talc and

                                 26 asbestos that they specifically received. As a result ofthe Retailers failure to pass on these warnings,

                                 27 Plaintiff purchased and used talcum powder products resulting in his exposure to asbestiform fibers

                                 28 that were a substantial factor in causing his malignant mesothelioma.

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                                   1          All Defendants are liable for fraudulent concealment, fraudulent misrepresentation, and

                                  2 conspiracy to defraud. A conspiracy to defraud involves an agreement, a wrongful act by any ofthe

                                  3 conspirators pursuant to the agreement, and damages.

                                  4           Here, the Defendants are liable for fraudulent concealment, fraudulent misrepresentation,

                                  5 and conspiracy to defraud (under theories of both concealment and misrepresentation), including

                                  6 because the Defendants, their "alternate entities", and each of them suppressed from all consumers

                                  7 and users, including Plaintiff, medical and scientific information concerning the health hazards

                                  8 associated with inhalation of asbestos, including the substantial risk of injury or death therefrom.

                                       Although the Defendants, and each of them knew of the substantial risks associated with exposure

                                       to asbestos, they willfully and knowingly concealed such information of the Defendants' Products

                                       from workers, users, handlers, bystanders, and household members in conscious disregard of the

                                       rights, safety and welfare of"exposed persons", including Plaintiff.
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                                              The Defendants, their "alternate entities", and each ofthem, belonged to, participated in, and

                                       financially supported industry organizations including, but not limited to, the Cosmetic Toiletry and

                                       Fragrance Association ("CTFA")(now Personal Care Products Council). The CTFA was a national

                                       association in the United States representing designers, manufacturers, and sellers of cosmetic

                                       products and ingredients — including talc powder. The CTFA's members were responsible for

                                       approximately 85 percent of the cosmetic products distributed in the United States. For talc-related

                                       matters, the CTFA organized and acted through its Talc Subcommittee. The members of the Talc

                                 20 Subcommittee included the Defendants, and several other corporations that were responsible for

                                 21    other cosmetic talc products.

                                 22           With respect to Plaintiff — who bought and used the final cosmetic talc products of the

                                 23 Defendants — the conspirators included the Defendants, and the other corporations that participated •

                                 24 in the CTFA and its Talc Subcommittee. The conspirators'joint motive was to protect the profitable

                                 25 market for their asbestos-containing talc powder, rather than to protect the safety of Plaintiff and

                                 26 other consumers. The conspirators together agreed to fraudulently conceal and misrepresent the

                                 27 asbestos-related hazards of their own, as well as each other's, cosmetic talc products. Each of the

                                 28 conspirators then committed such fraud against Plaintiff and other consumers, as well as against

                                                                                            14
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                                  1   governmental entities (including the FDA and the National Toxicology Program) that, in an effort

                                  2 to protect the safety ofconsumers, periodically investigated the asbestos content ofthe conspirators'

                                  3 cosmetic talc products. As a result of that successful conspiracy to defraud consumers and

                                  4 governmental entities, Plaintiff for many years was exposed to asbestos from the Defendants' and

                                  5 the other conspirators' cosmetic talc products, which then caused Plaintiffto develop mesothelioma.

                                  6          The following documents illustrate how the Defendants and the other conspirators formed

                                  7 and executed their conspiracy to defraud from the early 1960's through present day:

                                  8          1.     The FDA's July 8, 1971 memorandum discussed "Contamination of Talc
                                                    with Asbestos." The FDA wanted to know the best technologies to test for
                                                    the "identity, quantitation, and particle size distribution of any asbestos that
                                                    may be present in talc." Some options included light microscopy, electron
                                                    microscopy, and x-ray diffraction scanning. The FDA planned to consult
                                                    with independent scientists, including from Mt. Sinai School of Medicine,
                                                    as well as with WCD and other talc-industry members.
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                                            2.     Avon's December 10, 1971 memorandum regarding "Asbestos and Talc"
                                                   included a summary of the FDA's public meeting that had occurred on
                                                   August 3, 1971. The FDA believed that "most talcum powders of major
                                                   manufacturers are relatively free of asbestos. Nevertheless, on behalf of
                                                   consumers, FDA is working on the details of a laboratory procedure for the
                                                   analysis of asbestos in talcum powders which will give consistent
                                                   meaningful results." The FDA believed that accurate results would require
                                                   "use of a battery of specialized instruments and techniques, including x-ray
                                                   diffraction, polarizing optical microscopy, electron microscopy, and
                                                   electron diffraction of selected particles." Without such a methodology, the
                                                   FDA believed that the agency was not "in a position to determine if such
                                                   products on the market contain asbestos fibers." The Consumers Union
                                                   expressed its hope that "existing knowledge on the subject of asbestos and
                                 20                talc would be resolved in the interest of the consumer rather than in the
                                                   interest of the producer." And the CTFA reported (falsely) that the
                                 21                "Association was ready to join with FDA and the academic community to
                                                   determine if there is a consumer safety problem with talc."
                                 22

                                 23         3.      Avon's March 28, 1972 memorandum regarding "Asbestos and Talc — FDA
                                                    Position" discussed that the CTFA had recommended to the FDA the use of
                                 24                 x-ray diffraction scanning at a "1% sensitivity level for asbestos in talc."
                                                    The FDA initially would hire Dr. Lewin of New York University as a
                                 25                 consultant to test approximately 100 cosmetic talc products (including
                                                    Avon's) using that method.
                                 26
                                            4.      The FDA's July 20, 1972 memorandum discussed background information
                                 27
                                                    on "Asbestos in Talc.""A number of sources have reported the presence of
                                 28                 asbestos fibers in talc. This asbestos is generally present as a natural

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                                  1             contaminant in talc deposits. The amount varies within deposits and among
                                                different geographical areas. There are talc deposits which are essentially
                                  2             free of asbestos fibers." The FDA understood that various techniques can
                                                help to determine if asbestos is present in talc. For example, x-ray
                                  3
                                                diffraction scanning can help to determine mineral percentages, but cannot
                                  4             "give any idea of the number [or] size of fibers present." And optical
                                                microscopy can detect fibers, but cannot always identify their type.
                                  5
                                          5.    Dr. Lewin's August 3, 1972 report to the FDA showed that 43 of the 102
                                  6             tested cosmetic talc products contained detectable levels of asbestos
                                                minerals by x-ray diffraction scanning. Avon's two products (Sample Nos.
                                  7
                                                62 and 101)each contained tremolite; and many other products contained
                                  8             tremolite and/or chrysotile.

                                          6.    The FDA's August 11, 1972 memorandum summarized the FDA's meeting
                                                with the CTFA regarding Dr. Lewin's test results. Avon and other
                                                companies, along with Dr. Lewin, also attended the meeting. The FDA
                                                explained that Dr. Lewin's findings would become public as the FDA
                                                considered whether to enact regulations regarding asbestos in cosmetic talc
                                                products. But the CTFA "strongly objected to the possibility that FDA
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                                                would make the analytical results public in such a way as to give brand
                                                names and manufacturers.[CTFA] indicated that such a disclosure of
                                                randomly selected samples in the market place would result in a great
                                               economic hardship for the companies involved and their employees."
                                               [Emphasis added.] CTFA threatened "to take legal action to prevent
                                                public disclosure."[Emphasis added.] And instead of enacting any
                                                regulations, the CTFA urged the FDA to accept "voluntary industry
                                               compliance" with industry's own testing standards. Regarding the hazards
                                               of any asbestos in talc, "[t]here was no disagreement between FDA and
                                                industry scientists present at this meeting about the potential safety hazard
                                               that the presence of asbestos in talc containing cosmetic product poses to
                                               the consumer."

                                          7.    The CTFA's December 21, 1973 memorandum summarized the CTFA's
                                 20
                                                private December 7, 1973 Talc Subcommittee meeting. Avon and other
                                 21             companies attended the meeting. They discussed their recent round robin
                                                testing for asbestos in talc samples using the "Proposed FDA Method" of
                                 22             optical microscopy. The method detected chrysotile asbestos, but
                                                inconsistently. "Modification" of the method could make it more
                                 23             dependable. "It was agreed to urge FDA to defer finalizing the proposed
                                 24             optical microscopic method until it can be altered to be more reliable, or
                                                even replaced if necessary."
                                 25
                                          8.    The CTFA's December 10, 1973 internal report likewise summarized the
                                 26             CTFA's findings from its round robin testing. The FDA's proposed optical
                                                microscopy method "may be used with some modification" such as "better
                                 27             selection of R.I. [refractive index] liquids and reduction of sample size per
                                                slide." By contrast, x-ray diffraction scanning methods normally had a
                                 28
                                                best-case detection limit of one percent by weight of tremolite asbestos

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                      1              minerals in a talc sample; it could not "distinguish fibrous from non-
                                     fibrous" particles; and it could not reliably detect chrysotile asbestos
                      2              minerals because of"chlorite interference." The CTFA concluded that
                                     transmission electron microscopy "appears to offer the best, most
                      3
                                     reliable method and is probably capable of detecting chrysotile and
                      4              tremolite (fibrous), both at a level of 0.1%."[Emphasis added.] But
                                     instead of recommending TEM,the CTFA would ask the FDA for a
                      5              "postponement of the finalization of the proposed regulation on talc," to
                                     allow time for a "a collaborative effort between FDA & industry to resolve
                      6              a satisfactory method of estimating chrysotile and tremolite in talc."
                      7
                              9.     Two weeks later, the CTFA's December 26, 1973 letter to the FDA stated
                      8              that it was "premature for FDA to impose its proposed optical method," and
                                     the CTFA (falsely) pledged to "assist" the FDA in "method development
                      9              research."

0               E     0        10.   The CTFA's February 19, 1974 memorandum summarized the CTFA's
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                o
                                     private meeting of its Task Force on Methodology for the Detection of
          g                          Asbestos in Talc. Avon and other companies attended the meeting. They
                                     discussed that with transmission electron microscopy, chrysotile asbestos
          0          12
04 1                                 "is estimated easily at 0.1% by weight," and that "at 0.1% chrysotile the
                     13              fibers are readily apparent in every exposure and can be readily
     (.5 .`g
          rn
                                     estimated in a matter of minutes."[Emphasis added.]"The method is
.
1!             ,,f.; 14              suitable in situations where a great number of different talc specimens
                                     are to be studied."[Emphasis added.]

     "i                       1 1.   The CTFA's August 19, 1974 memorandum summarized the CTFA's
                     16
                                     private meeting of its subcommittee on Asbestos in Talc. Avon and other
                     17              companies attended the meeting. They discussed their latest round robin
                                     testing, which detected chrysotile and tremolite asbestos minerals in talc
                     18              samples. Additionally, the CTFA knew that the FDA was now "leaning
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                (5




          8
                                     heavily toward" x-ray diffraction scanning, and was "about ready to
                     19              abandon their original proposed optical microscope technique." As for x-ray
          El         20
                                     diffraction scanning,"Once again, the limit to be suggested to FDA is
                                     1%,with which we can live" — the CTFA could live with that because
                     21              tremolite asbestos normally was present in cosmetic talc products at levels
                                     below one percent, and because the method could not reliably detect
                     22              chrysotile asbestos.[Emphasis added.]
                     23       12.    The CTFA's December 4, 1974 memorandum summarized the CTFA's
                                     private meeting of its Talc Subcommittee. Avon and other companies
                     24
                                     attended the meeting. They discussed that the CTFA would recommend to
                     25              the FDA the use of x-ray diffraction scanning with its one-percent detection
                                     limit for tremolite asbestos minerals, with optical microscopy serving only
                     26              as a "back-up" to doublecheck only positive results. The CTFA would not
                                     recommend transmission electron microcopy because, although
                     27              "theoretically lit] is satisfactory," a "disadvantage[]" was that its "ultra
                                     sensitivity could be a problem" — i.e., the CTFA disfavored transmission
                     28

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                      I               electron microscopy because it detected asbestos in cosmetic talc products
                                      too effectively.[Bolded emphasis added.]
                      2
                               13.    A December 17, 1974 J&J memorandum discussed that the CTFA's talc
                      3               task force had decided what test methods would be recommended to the
                      4               FDA for "determining the presence of chrysotile and tremolite in talc. We
                                      believe it is critical for the C.T.F.A. to now recommend these methods
                      5               to the F.D.A. before the art advances to more sophisticated techniques
                                      with higher levels of sensitization."[Emphasis added.]
                      6
                               14.    The next month, the FDA's January 7, 1975 memorandum discussed the
                      7               FDA's meeting with the CTFA on the "Status of Regulation(s) Regarding
                                      Asbestos in Talc." Industry first argued that chrysotile asbestos should not
                      8
                                      be the subject of any testing of talc, and misstated that "regulation was
        .ris
         .,           9               unnecessary because evidence indicates that chrysotile does not occur in
         g
-0                                    talc." Industry further misstated that it was "sure there was no chrysotile
 0      .1      10                    present in cosmetic grade talc," and again misstated that "they could not
 o      .-—.. §
                                      find talc which contained chrysotile." Next, industry misstated that
 49
                g                     "analysis for amphibole (tremolite) minerals by x-ray diffraction was a
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           12                         reliable method with a sensitivity of 0.5%," and so the industry would
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                                      determine tremolite content by that method. Moreover, the industry argued
03 .     . 13                         that "self-regulation" should be permitted instead of enacting any actual
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T.: d •B ‘,-                          regulations.
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ci)                            1 5.   Likewise, a February 13, 1975 J&J memorandum discussed a meeting
              .-, 15
   " 1 2 .....
   o                                  among the CTFA and FDA that had occurred on February 7, 1975. Industry
.Fi     . Lil                         again misstated that chrysotile asbestos did not exist in cosmetic talc
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 c.           16
    'n00                              products. Plus, the industry again requested that the FDA allow "self-
    •0                                regulatory action" as to any testing for asbestos in talc.
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,      c7, 17
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cd                             16.    Similarly, the CTFA (via Bristol-Myers) sent a September 17, 1975 letter to
   '   C. .'. 18
     8 `n
    -0                                the FDA,and again misstated that chrysotile asbestos did not exist in
       .•,:,)        19               cosmetic talc products; and that the companies purportedly made a "sincere
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       _
       —,:1                           and continuous effort to regulate our industry so that it will provide good
                     20
                                      and safe products to its customers."
                     21
                               17.    Next, the CTFA's September 23, 1975 letter to the FDA provided a copy of
                     22               the industry's proposed test method for asbestos in talc. It relied upon x-ray
                                      diffraction scanning for amphiboles only (not chrysotile), with a stated
                     23               detection limit of 0.5 percent. And only if a positive result occurred by x-
                                      ray diffraction scanning, then optical microscopy was used as a back-up
                     24               method. Transmission electron microscopy was not included, and the CTFA
                     25               concealed the fact that it disfavored that method because of its "ultra
                                      sensitivity" for detecting tremolite and chrysotile asbestos in talc. The
                     26               CTFA instead misstated that transmission electron microscopy was just too
                                      impractical.
                     27
                              1 8.    The FDA's February 27, 1976 memorandum discussed the FDA's meeting
                     28               with a reporter from the Washington Post regarding the "current status of

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                  1            our efforts with regard to the regulation of asbestos in cosmetic talc
                               products." The FDA had been persuaded (by the CTFA's concealment and
                 2             misrepresentations) that x-ray diffraction scanning for tremolite was
                               "suitable for routine quality control of talc," and that transmission electron
                 3
                               microscopy was "not a suitable method for routine evaluation of talc
                 4             because of the time-consuming methodology." Additionally, the FDA had
                               abandoned its proposed regulation for optical microscopy because the FDA
                 5             had been persuaded (again, by the CTFA's concealment and
                               misrepresentations) that the method was "unsatisfactory for the
                 6             aforementioned reasons." The FDA had no further "regulatory plans."
                 7
                          Similarly, a March 11, 1976 newspaper report,"Talc Tests Wanting, FDA
                         19.
                 8        Experts Admit," was published in the Record in Bergen County, New
                          Jersey. The FDA official stated that (because of the CTFA's concealment
                          and misrepresentations) the FDA trusted the cosmetic talc industry's
                          assurances that it was "concerned about the asbestos content of their
                          product." Plus, the FDA was not equipped to challenge the industry because
                          " the FDA lacks the legal authority, the man power, and the money to
                          adequately protect the public [from] potentially hazardous cosmetics."
                          ' Every cosmetic that goes on the market should be test[ed] . The law
                          today merely prevents manufacturers from introducing adulterated or
                          misbranded products.' The entire cosmetics budget, is only 2-1/2 million,
                          and we have only 8 chemists. There are 250,000 different cosmetic products
                          on the market and 4000-5000 manufacturers. We have 1% of the total FDA
cn         (7)            budget.' ...'We cannot test every sample."
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     sic




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             . 16       20.    At the same time, the CTFA's March 11, 1976 memorandum summarized a
                               meeting of its Talc Task Force. Avon and other companies attended the
                               meeting. They discussed that each company should provide to the FDA
                               asbestos testing data as to their recent cosmetic talc products. The CTFA
                               would gather letters from each company and then submit them to the FDA
                               at an upcoming meeting on March 15, 1976.

                        21.    The CTFA and its members then indeed wrote and submitted letters to the
                20
                               FDA on March 15, 1976— purporting to "demonstrate responsibility of
                21             industry in monitoring its talcs. We are certain that the summary will give
                               you assurance as to the freedom from contamination by asbestos form
                22             materials of cosmetic talc products." Each company misrepresented that
                               their cosmetic talc products were adequately tested and free of asbestos; and
                23             each company concealed that their products in fact were not adequately
                24             tested and that they contained traces of asbestos. Avon's March 12, 1976
                               letter to the FDA misstated that Avon's identified negative test results by x-
                25             ray diffraction scanning reliably showed that Avon's cosmetic talc products
                               were free of tremolite and chrysotile asbestos. Avon concealed its positive
                26             asbestos test results that were achieved by x-ray diffraction scanning and by
                               other methods.
                27
                        22.    The FDA's March 15, 1976 memorandum discussed the meeting that had
                28
                               occurred with the CTFA. Avon and other companies attended the meeting.

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 1             Industry reiterated that it would test for asbestos by x-ray diffraction
               scanning, with a detection limit of.5 percent at best for amphiboles.
 2             Industry stated that it would not test for asbestos by transmission electron
               microscopy, misstating that the method was not suitable because of its
 3
               complexity and cost, and concealing that the method was not suitable to
 4             them because it detected tremolite and chrysotile asbestos too well. The
               FDA requested that the "industry voluntarily report the results of any
 5             sampling program to the FDA on a regular basis."

 6       23.   The FDA's March 18, 1976 memorandum discussed that "though the
               submission by the CTFA Talc Subcommittee looks impressive at first hand,
 7
               it does not offer much assurance that cosmetic talcs are adequately tested
 8             for asbestos. If this is all that can be expected from the cosmetic industry in
               the form of analytical effort in the light of the asbestos in talc publicity
               since 1971, we have not much choice but to move ahead as speedily as
               possible with a proposal of a regulation on asbestos in talc ..." On March
               19, 1976, FDA scientists asked the FDA Acting Director whether they may
               "prepare such a proposed regulation." But such approval was never granted.

         24.   Meanwhile, the CTFA's March 31, 1976 memorandum summarized a
               meeting of the Talc Subcommittee. Avon and other companies attended the
               meeting. They "agreed on the success of the presentation of summary
               reports given to the FDA," and industry would "not obligate itself to give
               periodic reports to FDA." In the future, if the "time is right," industry might
               present more information to the FDA. Industry would not further address
               the FDA's request for voluntary sampling and reporting.

         25.   Separately, on September 21, 1976, Avon wrote to the OSHA Compliance
               Office, which had asked about the "talcs we use at Avon." Avon misstated
               that since 1973 it had maintained adequate testing programs to "assure that
               the talcs we were using were asbestos-free."

         26.   On October 7, 1976, the CTFA officially adopted its "J4-1" testing method
               for amphibole asbestos in talc. It relied upon x-ray diffraction scanning,
20
               with a .5 percent detection limit for amphibole asbestos only (not chrysotile
21             asbestos). Optical microscopy was used as a back-up method only if a
               sample tested positive by x-ray diffraction scanning.
22
         27.   The CTFA's October 18, 1976 memorandum discussed the next"Round-
23             Robin Test on Talc Samples." Dr. Langer of Mt. Sinai would purchase
               bottles of talc, and then create sub-samples to be tested by different labs.
24
         28.   On December 23, 1976, the CTFA (via J&J)sent "coded samples" of talc to
25
               each of the round robin testing participants, including Avon. The samples
26             were to be tested for "asbestiform amphibole minerals" pursuant to the
               CTFA's J4-1 test method for x-ray diffraction scanning.
27
         29.   J&J's April 21, 1977 letter to the round robin participants reported that
28             three samples had failed the test — meaning that amphibole asbestos

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                                    1            minerals were present at levels above 0.5 percent."The sample code,
                                                 which is still in my possession, has been released to no one."[Bolded
                                    2            emphasis added.] J&J called for a meeting to discuss "special training for
                                                 the analysts and repeating the round robin."
                                    3

                                    4      30.   The CTFA's June 13, 1977 memorandum summarized the May 17, 1977
                                                 meeting where the CTFA discussed the results to-date ofthe round robin
                                    5            testing. Avon and other companies attended the meeting. Their objective
                                                 was to'Test and verify CTFA Method J4-1 for this purpose -
                                    6            assurance that method is accurate, reliable and practical.'... these
                                                 objectives have not      been achieved."[Bolded emphasis added.] The
                                    7
                                                 CTFA therefore planned a round robin partial retest.
                                    8
                                           31.   J&J's March 1, 1978 letter to the CTFA enclosed the "table which breaks
                                                 the code for the recently completed CTFA Task Force on Round Robin
                                                 Testing of Consumer Talcum Products for Asbestiform Amphibole
                                                 Minerals." Each participant would learn the results for "their product only."
                                                 After the retest, no product was reported to contain "asbestiform"
                                                 amphibole above 0.5 percent — any amphibole above that level was reported
                                   12            as "nonasbestiform." J&J would "destroy the only other copy of this
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                                                 table," and the CTFA must "Destroy your copy of the table."[Emphasis
                                 • 13            added.]

                                 • 14      32.   The next month, the FDA's April 25, 1978 memorandum discussed
                                                 "Asbestos in foods and cosmetics." The FDA remained "interested in
                                                 having a method developed so that fractions of 1% of asbestos can be tested
                                                 in foods or cosmetics." The FDA still believed the industry's misstatements
                                                 that the optical microscopy method was "not a practical one." The FDA
                                                 therefore did not pursue any regulations.

                                           33.   Several years later, on November 8, 1983, a citizen petitioned the FDA to
                                                 require cosmetic talc products to be labeled with an asbestos warning
                                   19            statement, information on asbestos particle size, and the proportion of talc
                                                 impurities in the product.
                                   20
                                           34.   But in 1986, the FDA denied that petition because the FDA still trusted the
                                   21
                                                 industry's prior misstatements. The FDA noted it was "aware that some
                                   22            cosmetic talc produced in the 1960s and early 1970s did contain asbestiform
                                                 minerals. However, your petition has not persuaded us that the cosmetic talc
                                   23            that is presently being produced contains significant amounts of asbestiform
                                                 minerals." Without requesting any updated data from industry, and without
                                   24            performing any testing of its own,the FDA assumed that cosmetic talc
                                   25            products were pure.

                                   26      35.   Several more years later, the CTFA's October 19, 1993 memorandum
                                                 discussed industry responses to questions that would be raised at the
                                   27            upcoming symposium hosted by the FDA and the International Society of
                                                 Regulatory Toxicology and Pharmacology. Avon and other companies were
                                   28            included in the discussion — and an August 5, 1993 receipt shows that Avon

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                                        1                 contributed $2,000 for the project. As to how the industry "assure[s] talc is
                                                          free of asbestos," the industry planned to misstate that "the conditions under
                                        2                 which talc forms are dissimilar to the geologic conditions under which
                                                          asbestos forms"; that the industry uses test methods that "provide adequate
                                        3
                                                          sensitivity and specificity"; and that "Cosmetic grade talc doesn't contain
                                        4                 tremolite."

                                        5          36.    Similarly, the CTFA's January 7, 1994 draft presentation/manuscript for
                                                          that FDA/ISRTP symposium included additional industry misstatements.
                                        6                 Avon and other companies received the draft. The industry planned to
                                                          misstate that "talc deposits of commercial significance are rarely associated
                                        7
                                                          geologically with asbestos"; and that based on "rigorous quality assurance
                                        8                 requirements, the likelihood of consumer exposure to asbestos in cosmetic
                                                          grade talc is virtually nonexistent."

                                                   37.    After the symposium, a June 7, 1994 follow-up letter written by an FDA
0
0                                                         official who attended the symposium, addressed to the CTFA,shows that
                                                          the CTFA indeed communicated its planned misstatements:"In your
                                                          presentation at the Symposium, I thought I heard you say that talc and
                                                          asbestos materials were not formed under the same geological conditions
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                                                          therefore the careful selection of mining sites results in asbestos-free talc. In
                                                          a paper by Rohl, A.N., et al. (J. Toxicol. Environ. Health (1976)2, 255-284)
                                                          the authors said 'They [asbestos materials and talc] form in the same as well
                                                          as similar geological processes. Consequently, many talc deposits contain
(,)                                                       asbestos minerals, so that in industrial and commercial use, such talcs
 6                                                        always contain varying amounts of asbestos fibers.' Which is true?"
                                                          Emphasis added.]

                                                   38.    Several years later, in 2002(the final year that Avon made and sold
6                                                         cosmetic talc products) the CTFA made similar misstatements to the
                                                          National Toxicology Program. In the CTFA's March 18, 2002 letter and
                                                          attachment, the CTFA misstated,"In 1976, CTFA promulgated a
                                                          specification for cosmetic talc to ensure that it is free of asbestos. As a
                                                          practical matter, that specification is self-enforcing. Asbestos has been
                                       20
                                                          listed as a known human carcinogen, is highly regulated, and no consumer
                                       21                 products company would knowingly run the risk of asbestos being present
                                                          in its product, even in minute quantities. ... CTFA promulgated its
                                       22                 specification for cosmetic talc in 1976, which required a complete absence
                                                          of detectable asbestos in cosmetic talc."
                                       23

                                       24          The Defendants and the other conspirators thus successfully avoided — through their
                                       25 fraudulent concealment and misrepresentations against consumers and governmental entities from

                                       26 the 1970's through 2000's — any meaningful public awareness or effective response to the

                                       27 talc/asbestos problem. As the FDA's website explains, the FDA still lacks legal authority to require

                                       28 adequate talc/asbestos testing by the industry, or to require disclosure of private industry data:

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                                                             "Under the Federal Food, Drug and Cosmetic Act(FD&C Act), cosmetic products and ingredients,

                                                         2 with the exception of color additives, do not have to undergo FDA review or approval before they

                                                         3 go on the market. Cosmetics must be properly labeled, and they must be safe for use by consumers

                                                         4 under labeled or customary conditions of use. The law does not require cosmetic companies to share

                                                         5 safety information with FDA."

                                                         6

                                                         7              FIRST CAUSE OF ACTION FOR STRICT PRODUCTS LIABILITY

                                                         8                                                       I.

                                                         9          Plaintiffs hereby incorporate by reference the allegations in the General Background section

                                                        10 .of this Complaint as if fully stated herein.

                                                        11

                                                        12          Design Defect: All Defendants (except Testing Defendants), and the 1st through 100th Doe
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                                                        13 Defendants, are strictly liable, under the consumer-expectations test, for placing defectively

                                                        14 designed products into the stream of commerce, ultimately exposing Plaintiffto asbestos from these

                                                        15 products. First, Defendants designed, manufactured, supplied, marketed, distributed, and sold the

                                                        16 products. Second, each product did not perform as safely as an ordinary consumer would have
                                 Jack London Market •




                                                        17 expected it to perform when used or misused in an intended or reasonably foreseeable way, because

                                                        18 each product caused hazardous asbestos to become airborne, exposing Plaintiff to asbestos. Third,

                                                        19 Plaintiff developed mesothelioma. Fourth, each product's failure to perform safely was a substantial

                                                        20 factor in causing Plaintiff's mesothelioma.

                                                        21                                                      III.

                                                        22          Failure-to-Warn Defect: All Defendants (except Testing Defendants), and the 1st through

                                                        23 100th Doe Defendants, are strictly liable for placing products with failure-to-warn defects into the

                                                        24 stream ofcommerce, ultimately exposing Plaintiffto asbestos from these products. First, Defendants

                                                        25 designed, manufactured, supplied, marketed, distributed, and sold the products. Second, each

                                                        26 product had potential risks that were known or knowable in light of the scientific and medical

                                                        27 knowledge that was generally accepted in the scientific community at the time of design,

                                                        28 manufacture, supply, marketing, distribution, and sale. Third, the potential risks presented a

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 1   substantial danger when each product was used or misused in an intended or reasonably foreseeable

 2 way, because each product caused hazardous asbestos to become airborne. Fourth, ordinary

 3 consumers would not have recognized the potential risks. Fifth, Defendants failed to adequately

 4 warn or instruct ofthe potential risks. Sixth, Plaintiff developed mesothelioma. Seventh, the lack of

 5 sufficient warnings or instructions was a substantial factor in causing Plaintiff's mesothelioma.

 6

 7                       SECOND CAUSE OF ACTION FOR NEGLIGENCE

 8                                                       I.

 9          Plaintiffs hereby incorporate by reference the allegations in the General Background

10 section of this Complaint as if fully stated herein.

11

12          General Negligence: All Defendants, and the 1st through 100th Doe Defendants, are liable

13 for their general negligence. First, Defendants failed to use reasonable care to prevent harm to others

14 because they caused hazardous asbestos to become airborne, through Defendants' active

15 participation and contribution to specific activities that caused asbestos to become airborne. Second,

16 Defendants did so by unreasonably acting and failing to act. They acted in ways that a reasonably

17 careful person would not do in the same situation, and failed to act in ways that a reasonably careful

18 person would do in the same situation. Third, Plaintiff developed mesothelioma. Fourth, each

19 Defendant's general negligence was a substantial factor in causing Plaintiff's mesothelioma.

20

21          Negligence Per Se: All Defendants, and the 1st through 100th Doe Defendants, are liable

22 for negligently violating the applicable state and federal asbestos regulations. Defendants

23 negligently violated those regulations by failing to properly label asbestos-containing products;

24 failing to monitor for the presence of asbestos dust; failing to provide changing facilities and

25 showers to exposed persons; allowing exposures of asbestos to exceed permissible exposure limits;

26 failing to warn as to the presence of asbestos; and failing to implement industrial hygiene practices

27 to eliminate or decrease exposures to asbestos. Those violations were a substantial factor in causing

28 Plaintiff's exposure to asbestos, and in causing Plaintiff's mesothelioma. The regulations were

                                                        24
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                                        1   designed to prevent overexposure to asbestos dust, and Plaintiff was within the class of persons that

                                        2 the regulations were designed to protect. Accordingly, because Defendants violated the regulations,

                                        3 Defendants' conduct is presumed to have been negligent.

                                        4                                                      IV.

                                        5          Negligent Design, Marketing, Sale, Supply, Installation, Inspection, Repair, and

                                        6 Removal of Products: All Defendants, and the 1st through 100th Doe Defendants, are liable for

                                        7 their negligent design, marketing, sale, supply, installation, inspection, repair, and removal of

                                        8 products. First, Defendants designed, marketed, sold, supplied, installed, inspected, repaired, and

                                        9 removed the products. Second, Defendants were negligent in designing, marketing, selling,

                                       10 supplying, installing, inspecting, repairing, and removing the products because the products released

                                       11   hazardous asbestos, which became airborne. Defendants failed to use the amount of care that a

                                       12 reasonably careful person would use in similar circumstances to avoid exposing others to a
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                                       13 foreseeable risk of harm. Third, Plaintiff developed mesothelioma. Fourth, each Defendant's

                                       14 negligence was a substantial factor in causing Plaintiffs mesothelioma.

                                       15                                                            V.

                                 L.)
                                       16          Negligent Failure to Warn about Products: All Defendants,and the 1st through 100th Doe
                                 •
                                       17 Defendants, are liable for their negligent failure to warn about their products. First, Defendants

                                       18 designed, manufactured, supplied, marketed, distributed, and sold the products. Second, Defendants
                                 -0
                                  0
                                       19 knew or reasonably should have known that each product was dangerous or was likely to be

                                       20 dangerous when used or misused in a reasonably foreseeable manner, because each product caused

                                       21   hazardous asbestos to become airborne. Third, Defendants knew or reasonably should have known

                                       22 that users would not realize the danger. Fourth, Defendants failed to adequately warn of the danger

                                       23 or instruct on the safe use of each product. Fifth, a reasonably careful person under the same or

                                       24 similar circumstances would have warned ofthe danger or instructed on the safe use ofeach product.

                                       25 Sixth, Plaintiff developed mesothelioma. Seventh, each Defendant's negligent failure to warn or

                                       26 instruct was a substantial factor in causing Plaintiffs mesothelioma.

                                       27                                                           VI.

                                       28          Negligent Failure to Recall and Retrofit Products: All Defendants, and the 1st through

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         1   100th Doe Defendants, are liable for their negligent failure to recall and/or retrofit their products.

        2 First, Defendants designed, manufactured, supplied, marketed, distributed, and sold the products.

        3 Second, Defendants knew or reasonably should have known that each product was dangerous or

        4 was likely to be dangerous when used in a reasonably foreseeable manner, because each product

        5 caused hazardous asbestos to become airborne. Third, Defendants became aware of this defect

        6 after they placed each product into the stream of commerce. Fourth, Defendants failed to recall

        7 and/or retrofit each product. Fifth, a reasonably careful person under the same or similar

        8 circumstances would have recalled and/or retrofitted each product. Sixth, Plaintiff deyeloped

             mesothelioma. Seventh, each Defendant's negligent failure to recall and/or retrofit each product

             was a substantial factor in causing Plaintiff's mesothelioma.

                                        THIRD CAUSE OF ACTION FOR FRAUD

                                                                  I.

                    Plaintiffs hereby incorporate by reference the allegations in the General Background section

             of this Complaint as if fully stated herein.



                    All Defendants, and the 1st through 100th Doe Defendants, are liable for fraud, including

             fraudulent misrepresentation, fraudulent concealment, conspiracy to commit fraudulent

             misrepresentation, and conspiracy to commit fraudulent concealment, as set forth herein.
 0
-0c
-01    19
 _xu
..
 —
       20           Fraudulent Misrepresentation: All Defendants, and the 1st through 100th Doe

       21 Defendants, are liable for their fraudulent misrepresentations.

       22           First, each Defendant, via its employees, agents, advertisements, or any other authorized

       23 person or document, represented that certain facts were true when they were not.

       24           Second, each Defendant falsely represented that the products they marketed, used, sold,

       25 supplied, or specified for use were not hazardous; and/or that each Defendant's conduct did not

       26 create serious or deadly dust hazards. Those misrepresentations were made before and during the

       27 years that Plaintiff was exposed to asbestos for which Defendants are responsible. Those

       28 misrepresentations were made either directly to Plaintiff, to a group of persons including Plaintiff,

                                                                 26
                             Complaint for Personal Injuries and Loss of Consortium; Demand for Jury Trial
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                                                  1   or to third parties intending and reasonably expecting that the substance ofthose misrepresentations

                                                 2 would be repeated to Plaintiff.

                                                 3              Third, each Defendant knew that the misrepresentations were false when they made them,

                                                 4 or Defendants made the misrepresentations recklessly and without regard for the truth.

                                                 5              Fourth, each Defendant intended that Plaintiff and/or the same class of persons would rely

                                                 6 on the misrepresentations or their substance.

                                                 7              Fifth, Plaintiff and others reasonably relied on Defendants' misrepresentations or their

                                                 8 substance.
                                     •.5
                                     ••t-        9              Sixth, Plaintiff developed mesothelioma.

0
0                                           §   10              Seventh, Plaintiff's and others' reliance on each Defendant's misrepresentations or their

                                                      substance was a substantial factor in causing Plaintiff's mesothelioma.

                                                                                                            IV. .
    A Professional Law Corporation




                                                                Fraudulent Concealment: All Defendants, and the 1st through 100th Doe Defendants, are

                                                      liable for their fraudulent concealment.

                                                                First, each Defendant made affirmative statements that were so misleading (e.g., misleading

                                                      "half-truths") that they gave rise to a fraud cause of action even in the absence of a specific

                                                      relationship or transaction as between Defendants and Plaintiff. Specifically, Defendants stated that

                                                      their products could be used safely while concealing that they were, in fact, lethal because they

                                                      released asbestos fibers; and/or Defendants stated that their conduct did not create serious or deadly

                                                20 dust hazards, while concealing that Defendants' conduct in fact created risks of asbestos-related

                                                21    cancer.

                                                22              Second, each Defendant(i) had exclusive knowledge of material facts not known to Plaintiff

                                                23 and others, (ii) actively concealed these material facts from Plaintiff and others, (iii) made partial

                                                24 representations but also suppressed material facts, as set forth above, and (iv) made factual

                                                25 representations, but did not disclose facts that materially qualified those representations. Such

                                                26 nondisclosures included Defendants representing their products as safe when used as intended and

                                                27 as fit for the particular purpose for which they were marketed, while not disclosing the facts that

                                                28 these products contained asbestos that would become airborne during the intended and/or

                                                                                                            27
                                                                        Complaint for Personal Injuries and Loss of Consortium; Demand for Jury Trial
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                                  1 foreseeable use of the products, rendering them dangerous and unfit for their intended purpose.

                                  2          Third, each Defendant entered into a relationship and/or a transaction with Plaintiff and

                                  3 others sufficient to give rise to a duty to disclose. For example, Plaintiffand others used or otherwise

                                  4 encountered Defendants' products that were purchased either directly from Defendants,Defendants'

                                  5 authorized dealer or supplier, or any other entity upon which Defendants derived a direct monetary

                                  6 benefit. Defendants also advertised and marketed their products to Plaintiff and other similar people.

                                  7 Defendants also derived direct monetary benefit from the industry and these individuals' use of

                                  8 these products because Plaintiff and others decided to use or purchase Defendants' products.

                                             Fourth, Plaintiff and others did not know of the concealed facts.

                                             Fifth, Defendants intended to deceive Plaintiff and others by concealing the facts, and/or

                                      making certain representations without disclosing additional facts that would have materially

                                      qualified those representations.
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                                             Sixth, had the omitted information been disclosed, Plaintiff and others reasonably would

                                      have behaved differently.

                                             Seventh, Plaintiff developed mesothelioma.

                                             Eighth, each Defendant's concealment was a substantial factor in causing Plaintiffs

                                      mesothelioma.



                                                                                           V.

                                 20          Conspiracy to Commit Fraudulent Misrepresentation: All Defendants, and the 1st

                                 21   through 100th Doe Defendants, are liable for their conspiracy to commit fraudulent

                                 22 misrepresentation. First, Defendants were aware that their conspirators, which included all co-

                                 23 Defendants and others, planned to commit fraudulent misrepresentation against Plaintiff and others.

                                 24 Second, Defendants agreed            with their conspirators and intended that the fraudulent

                                 25 misrepresentation be committed. Third, Plaintiff developed mesothelioma. Fourth, each

                                 26 Defendant's participation in the conspiracy was a substantial factor in causing Plaintiffs

                                 27 mesothelioma.

                                 28                                                       VI.

                                                                                          28
                                                      Complaint for Personal Injuries and Loss of Consortium; Demand for Jury Trial
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 1
            Conspiracy to Commit Fraudulent Concealment: All Defendants, and the 1st through
 2
     100th Doe Defendants, are liable for their conspiracy to commit fraudulent concealment. First,
 3
     Defendants were aware that their conspirators planned to commit fraudulent concealment against
 4
     Plaintiff and others. Second, these Defendants agreed with their conspirators and intended that the
 5
     fraudulent concealment be committed. Third, Plaintiff developed mesothelioma. Fourth, each
 6
     Defendant's participation in the conspiracy was a substantial factor in causing Plaintiff's
 7
     mesothelioma.
 8
                                    BASIS FOR PUNITIVE DAMAGES

                                                          I.

            Malice, Oppression,or Fraud: Plaintiffs hereby incorporate by reference the allegations in

     the General Background section of this Complaint, as well as the allegations of all causes of action,

     as if fully stated herein. All Defendants, and the 1st through 100th Doe Defendants, are liable for

     punitive damages because they engaged in the conduct that caused Plaintiff's harm with malice,

     oppression, or fraud.

            First, Defendants committed malice in that they acted with intent to harm when they caused

     Plaintiff's asbestos exposures, and because their conduct was despicable and was done with a willful

     and knowing disregard for the rights and safety of others.

            Second, Defendants committed oppression in that their conduct was despicable and

     subjected Plaintiff to cruel and unjust hardship in knowing disregard of Plaintiff's rights.
20
            Third, Defendants committed fraud in that they intentionally concealed and misrepresented
21
     material facts and did so intending to harm Plaintiff.
22
            Defendants' conduct constituting malice, oppression, or fraud was committed by,authorized
23
     by, or adopted by one or more officers, directors, or managing agents of each Defendant, who acted
24
     on behalf of each Defendant.
25
                                          PRAYER FOR DAMAGES
26
                                                          I.
27
            Plaintiffs pray for judgment against all Defendants, and the 1st through 100th Doe
28

                                                         29
                     Complaint for Personal Injuries and Loss of Consortium; Demand for Jury Trial
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 1 Defendants, for:

 2         1.      All economic and non-economic compensatory damages in excess of $35,000;

 3         2.      Punitive damages according to proof;

 4         3.      Pre- and post-judgment interest;

 5         4.      Costs of suit; and

 6         5.      Such other relief as is fair,just, and equitable.

 7                                      DEMAND FOR JURY TRIAL

 8                                                       I.

           Plaintiffs hereby demand a trial by jury on all issues so triable.



     DATED: March 18, 2025                       KAZAN,McCLAIN,SATTERLEY 8c GREENWOOD
                                                 A Professional Law Corporation



                                                 By:
                                                                  . Satterley

                                                 Attorne s for Plaintiffs




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                                                         30
                   Complaint for Personal Injuries and Loss of Consortium; Demand for Jury Trial
             Case 4:25-cv-03198                     Document 1-1                Filed on 07/09/25 in TXSD                          Page 35 of 43
                                                                                                                                                                  CM-010
  ATTORNEY OR PARTY VV1THOUT ATTORNEY (Name, State Bar number, and address):                                                    FOR COURT USE ONLY
 William H. Cross, Esq. C.S.B. #337801
 Kazan, McClain, Satterley & Greenwood, A Professional Law Corporation                                             ELECTRONICALLY FILED
Jack London Market, 55 Harrison St, Suite 400, Oakland CA 94607
TELEPHONE NO.: 510-302-1000                FAX NO 51 0-835-491 3
                                                                                                                   Superior Court of California,
 EMAIL ADDRESS. wcross@kazanlaw.com                                                                                    County of Alameda
ATTORNEY FOR (Name): Plaintiffs
SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA                                                                    03/25/2025 at 08:01:19 PM
  STREET ADDRESS: 1225 Fallon St.                                                                                                 By: Pbdul Kargbo,
  MAILING ADDRESS: 1225 Fallon St.                                                                                                  Deputy Clerk
 CITY AND ZIP CODE: Oakland, 94612
     BRANCH NAME: Rene C. Davidson Courthouse

CASE NAmE:JOHN E. MARICICH, JR. and KYM MARICICH BENEDICT v.
                CHATTEM, INC. etc., et al.
       CIVIL CASE COVER SHEET                    Complex Case Designation                                      CASE NUMBER:
                                                                                                                               260V 1 1 6707
• Unlimited                El Limited           EJ Counter       El Joinder
       (Amount                       (Amount
       demanded                      demanded is             Filed with first appearance by defendant          JUDGE:
       exceeds $35,000)              $35,000 or less)           (Cal. Rules of Court, rule 3.402)              DEPT.:

                                     Items 1-6 below must be completed (see instructions on page 2).
  1. Check one box below for the case type that best describes this case:
    Auto Tort                                         Contract                                   Provisionally Complex Civil Litigation
      El  Auto (22)                                         El
                                                            Breach of contract/warranty (06)    (Cal. Rules of Court, rules 3.400-3.403)
      El   Uninsured motorist(46)                           El
                                                            Rule 3.740 collections (09)                  El
                                                                                                       Antitrust/Trade regulation (03)
    Other Pl/PDNVD (Personal Injury/Property                El
                                                            Other collections(09)                        El
                                                                                                       Construction defect (10)
    Damage/Wrongful Death) Tort                       El    Insurance coverage (18)                      El
                                                                                                       Mass  tort (40)
    Ell   Asbestos (04)                                     ci
                                                            Other contract(37)                           P
                                                                                                       Securities litigation (28)
      El  Product liability (24)
                                                      Real Property                                      El
                                                                                                       Environmental/Toxic tort(30)
      El  Medical malpractice (45)                          CI
                                                            Eminent domain/Inverse                       El
                                                                                                       Insurance coverage claims arising from the
      El  Other PUPD/VVD (23)                               condemnation (14)                          above listed provisionally complex case
                                                                                                       types (41)
    Non-PI/PD/WD (Other)Tort
                                                            El .Wrongful
                                                                      eviction (33)
                                                                                                Enforcement of Judgment
    El    Business tort/unfair business practice (07)       ci
                                                            Other real property (26)
                                                                                                          El
      El  Civil rights (08)                           Unlawful Detainer
                                                                                                       Enforcement of judgment(20)
      El  Defamation (13)                             I=1 Commercial (31)
                                                                                                 Miscellaneous   Civil Complaint
      El  Fraud (16)                                        El
                                                            Residential (32)                              E1
                                                                                                       RICO  (27)
      El  Intellectual property(19)                         El
                                                            Drugs (38)                                    El
                                                                                                       Other complaint (not specified above)(42)
      El  Professional negligence (25)                Judicial Review                           Miscellaneous Civil Petition
      El  Other non-PUPD/WD tort(35)                        El
                                                            Asset forfeiture (05)                        El
                                                                                                       Partnership and corporate governance (21)
    Employment
      El                                                    El
                                                            Petition re: arbitration award (11)
                                                                                                         El
                                                                                                       Other petition (not specified above)(43)
          Wrongful termination (36)
      El                                                    El
                                                            Writ of mandate (02)
          Other employment (15)
                                                            El
                                                            Other judicial review (39)
 2.    This case         is        Elis not    complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
       factors requiring exceptional judicial management:
      a. Z Large number of separately represented parties           d. Z Large number of witnesses
      b. Z       Extensive motion practice raising difficult or novel          e.   El     Coordination with related actions pending in one or more
                 issues that will be time-consuming to resolve                            courts in other counties, states, or countries, or in a federal
                                                                                          court
      c. El      Substantial amount of documentary evidence
                                                                             f.     El    Substantial postjudgment judicial supervision
 3.   Remedies sought(check all that apply): a. Z                 monetary b.     El     nonmonetary; declaratory or injunctive relief c. El       punitive
 4. Number of causes of action (specify): Three
 5. This case       El is         z
                                is not     a class action suit.
 6. If there are any known related cases, file and serve a notice of related case.(You may use form CM-015.)
 Date: March 18, 2025

 William H. Cross                                                                                  GilarasioW au,„_
                            (TYPE OR PRINT NAME)                                                      (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                            NOTICE
 • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
    under the Probate Code, Family Code, or Welfare and Institutions Code).(Cal. Rules of Court, rule 3.220.) Failure to file may result in sanctions.
 • File this cover sheet in addition to any cover sheet required by local court rule.
 • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all other parties to
   the action or proceeding.
 • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.              Page 1 of 2
Form Adopted for Mandatory Use                                                                                     Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740;
Judicial Council of California                                CIVIL CASE COVER SHEET                                       Cal. Standards of Judicial Administration, std. 3.10
CM-010[Rev. January 1, 2024]                                                                                                                                www.courts.ca.gov
             Case 4:25-cv-03198               Document 1-1            Filed on 07/09/25 in TXSD                  Page 36 of 43


                               INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                         CM-010
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following:(1)tort
damages,(2) punitive damages,(3) recovery of real property,(4) recovery of personal property, or(5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                     CASE TYPES AND EXAMPLES
 Auto Tort                                    Contract                                           Provisionally Complex Civil Litigation (Cal.
      Auto (22)—Personal Injury/Property          Breach of ContractNVarranty (06)               Rules of Court Rules 3.400-3.403)
              Damage/Wrongful Death                   Breach of Rental/Lease                           Antitrust/Trade Regulation (03)
         Uninsured Motorist (46)(if the                    Contract(not unlawful detainer              Construction Defect(10)
        case involves an uninsured                              or wrongful eviction)
                                                                              vi ti n                  Claims Involving Mass Tort (40)
        motorist claim subject to                     Contract/Warranty Breach—Seller                  Securities Litigation (28)
        arbitration, check this item                       Plaintiff (not fraud or negligence)         Environmental/Toxic Tort (30)
        instead of Auto)                               Negligent Breach of Contract/                   Insurance Coverage Claims
 Other Pl/PD/WD (Personal Injury/                          Warranty                                          (arising from provisionally complex
 Property Damage/Wrongful Death) Tort                 Other Breach of Contract/Warranty                       case type listed above)(41)
     Asbestos (04)                                Collections (e.g., money owed, open            Enforcement of Judgment
         Asbestos Property Damage                     book accounts)  t (09)                        Enforcement of Judgment (20)
         Asbestos Personal Injury/                    Collection Case—Seller Plaintiff                   Abstract of Judgment(Out of County)
                Wrongful Death                        Other Promissory Note/Collections Case        Confession of Judgment (non-domestic
     Product Liability (not asbestos or           Insurance Coverage (not provisionally                   relations)
          toxic/environmental)(24)                    complex)(18)                                  Sister State Judgment
     Medical Malpractice (45)                         Auto Subrogation                              Administrative Agency Award
           Medical Malpractice—                       Other Coverage                                    (not unpaid taxes)
                 Physicians & Surgeons            Other Contract
                                                             t t(37)                                 Petition/Certification of Entry of
     Other Professional Health Care                   Contracuat lF  Fraud
                                                                         d                                Judgment on Unpaid Taxes
              Malpractice                             Other Contract Dispute                         Other Enforcement of Judgment Case
     Other PUPD/VVD (23)                      Real Property                                      Miscellaneous Civil Complaint
           Premises Liability (e.g., slip         Eminent Domain/Inverse                             RICO (27)
                 and fall)                            Condemnation (14)                              Other Complaint (not specified above)(42)
           I ntentional Bodily Injury/PD/WD       Wrongful Eviction (33)                                   Declaratory Relief Only
                 (e.g., assault, vandalism)       Other Real Property (e.g., quiet title)(26)              Injunctive Relief Only(non-
           I ntentional Infliction of                 Writ of Possession of Real Property                       harassment)
                 Emotional Distress                   Mortgage Foreclosure                                 Mechanics Lien
           Negligent Infliction of                    Quiet Title                                          Other Commercial Complaint
                  Emotional Distress                  Other Real Property (not eminent                          Case (non-tort/non-complex)
           Other PUPD/VVD                             domain, landlord/tenant, or                          Other Civil Complaint
 Non-PI/PD/WD (Other) Tort                            foreclosure)                                             (non-tort/non-complex)
     Business Tort/Unfair Business            Unlawful Detainer
                                                            t i                                  Miscellaneous Civil Petition
         Practice (07)                            Commercial (31)                                   Partnership and Corporate
     Civil Rights (e.g., discrimination,          Residential (32)                                       Governance (21)
            false arrest)(not civil               Drugs (38)(if the case involves illegal           Other Petition (not specified above)(43)
            harassment)(08)                       drugs, check this item; otherwise,                     Civil Harassment
     Defamation (e.g., slander, libel)(13)        report as Commercial or Residential)                   Workplace Violence
     Fraud (16)                               Judicial Review                                            Elder/Dependent Adult Abuse
     Intellectual Property (19)                   Asset Forfeiture (05)                                  Election Contest
    Professional Negligence (25)                 Petition Re: Arbitration Award (11)                     Petition for Name Change
         Legal Malpractice                        Writ of Mandate (02)                                   Petition for Relief From Late Claim
         Other Professional Malpractice               Writ—Administrative Mandamus                       Other Civil Petition
              (not medical or legal)                  Writ—Mandamus on Limited Court
    Other Non-PUPDNVD Tort (35)                          Case Matter
 Employment                                           Writ—Other Limited Court Case Review
    Wrongful Termination (36)                    Other Judicial Review (39)
    Other Employment(15)                              Review of Health Officer Order
                                                      Notice of Appeal—Labor Commissioner
                                                        Appe2ls
CM-010[Rev. January 1, 2024]                                                                                                            Page 2 of 2
                                                       CIVIL CASE COVER SHEET
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Short Title: JOHN E. MARICICH, JR. and KYM MARICICH BENEDICT v. CHATTEM,
                                                                                                            Case Number:
INC. etc., et al.
                                                      CIVIL CASE COVER SHEET ADDENDUM
                                    THIS FORM IS REQUIRED IN ALL NEW UNLIMITED CIVIL CASE FILINGS IN THE
                                                SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA
                                                                                [ ] Hayward Hall of Justice (447)
 [X] Oakland, Rene C.Davidson Alameda County Courthouse (446)                   [ ]Pleasanton, Gale-Schenone Hall of Justice (448)
 Civil Case Cover
 Sheet Category        Civil Case Cover Sheet Case Type         Alameda County Case Type(check only one)
Auto Tort              Auto Tort (22)                            [ 1      34   Auto tort(G)
                                                                 Is this an uninsured motorist case?[ ]yes[ ]no

Other PI /PD /         Asbestos (04)                             [X]    75   Asbestos (D)
WD Tort                Product liability (24)                    [ 1    89   Product liability (r3t asbestos or toxic tort/environmental)(G)
                                                                                                                                               •
                       Medical malpractice (45)                  []    97    Medical malpractice(G)
                       Other PUPD/VVD tort(23)                   [ 1    33   Other Pl/PD/VVD tort(G)

Non - PI /PD /         Bus tort / unfair bus. practice (07)      [ 1    79   Bus tort/ unfair bus. practice(G)
WD Tort                Civil rights(08)                          []    80    Civil rights(G)
                       Defamation (13)                           [ 1   84    Defamation(G)
                       Fraud (16)                                [ 1   24    Fraud (G)
                       Intellectual property(19)                 []    87    Intellectual property (G)
                       Professional negligence (25)              []    59    Professional negligence - non-medical(G)
                       Other non-PI/PD/WD tort (35)              []    03    Other non-PI/PDNVD tort(G)                       •
Employment             Wrongful termination (36)                 [ 1   38    Wrongful termination (G)
                       Other employment (15)                     []    85    Other employment(G)
                                                                 []    53    Labor comm award confirmation
                                                                 []    54    Notice of appeal - L.C.A.

Contract               Breach contract / Wrnty (06)              []    04    Breach contract / Wrnty(G)
                       Collections (09)                          []    81    Collections(G)
                       Insurance coverage (18)                   [ 1   86    Ins. coverage - non-complex (G)
                •      Other contract (37)                       [ 1   98    Other contract(G)

Real Property          Eminent domain! Inv Cdm (14)              [ 1   18    Eminent domain / Inv Cdm (G)
                       Wrongful eviction (33)                    [ 1   17    Wrongful eviction (G)
                       Other real property (26)                  [ 1   36    Other real property(G)
Unlawful Detainer      Commercial(31)                            [ 1   94    Unlawful Detainer - commercial           Is the deft. in possession
                       Residential (32)                          []    47    Unlawful Detainer - residential          of the property?
                       Drugs (38)                                []    21    Unlawful Detainer - drugs               [ ]Yes[ ]No
Judicial Review        Asset forfeiture (05)                     []    41    Asset forfeiture
                       Petition re: arbitration award (11)       []    62    Pet. re: arbitration award
                       Writ of Mandate (02)                      []    49    Writ of mandate
                                                                 Is this a CEQA action (Pubi.Res.Code section 21000 et seq) [ ]Yes[ ]No
                       Other judicial review (39)                []    64    Other judicial review
Provisionally          Antitrust / Trade regulation (03)         []    77    Antitrust / Trade regulation
Complex                Construction defect (10)                  [ 1   82    Construction defect
                       Claims involving mass tort (40)           []    78    Claims involving mass tort
                                                                 []    91    Securities litigation
                       Securities litigation (28)
                       Toxic tort / Environmental (30)           []    93    Toxic tort / Environmental

                       Ins covrg from cmplx case type (41)       []    95    Ins covrg from complex case type

Enforcement of         Enforcement of judgment(20)               []    19    Enforcement ofjudgment
Judgment                                                         [ 1   08    Confession of judgment

Misc Complaint         RICO (27)                                 []    90    RICO (G)
                       Partnership / Corp. governance (21)       []    88    Partnership! Corp. governance (G)
                       Other complaint(42)                       [ ]   68    All other complaints(G)
Misc. Civil Petition   Other petition (43)                       [ 1   06    Change of name
                                                                 [ 1   69    Other petition
           202-19(5/1/00)
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                                                       WO'



                Superior Court of California, County of Alameda
              Alternative Dispute Resolution(ADR)Information Packet

The person who files a civil lawsuit (plaintiff) must include the ADR Information Packet with the
complaint when serving the defendant. Cross complainants must serve the ADR Information Packet
on any new parties named to the action.


      The Court strongly encourages the parties to use some form of ADR before proceeding to
      trial. You may choose ADR by:

         • Indicating your preference on Case Management Form CM-110;

         • Filing the Stipulation to ADR and Delay Initial Case Management Conference for 90
           Days(a local form included with the information packet); or

         • Agreeing to ADR at your Initial Case Management Conference.

    QUESTIONS? Call(510)891-6055. Email: adrprogramalameda.courts.ca.gov
    Or visit the court's website at http://www.alameda.courts.ca.govidivisions/civil/adr

                                  What Are the Advantages of Using ADR?
• Faster —Litigation can take years to complete but ADR usually takes weeks or months.
• Cheaper — Parties can save on attorneys' fees and litigation costs.
• More control andflexibility — Parties choose the ADR process appropriate for their case.
•    Cooperative and less stressful — In mediation, parties cooperate to find a mutually agreeable resolution.
• Preserve Relationships — A mediator can help you effectively communicate your interests and point of
     view to the other side. This is an important benefit when you want to preserve a relationship.


                                  What Is the Disadvantage of Using ADR?
•    You may go to court anyway — If you cannot resolve your dispute using ADR, you may still have to
     spend time and money resolving your lawsuit through the courts.

                                     What ADR Options Are Available?
• Mediation — A neutral person (mediator) helps the parties communicate, clarify facts, identify legal
  issues, explore settlement options, and agree on a solution that is acceptable to all sides.

     o   Court Mediation Program: Mediators do not charge fees for the first two hours of mediation. If
           parties need more time, they must pay the mediator's regular fees.



ADR Info Sheet Rev. 05/23/22                                                                      Page 1 of2
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         Some mediators ask for a deposit before mediation starts which is subject to a refund for unused
         time.

    o    Private Mediation: This is mediation where the parties pay the mediator's regular fees and may
          choose a mediator outside the court's panel.

• Arbitration — A neutral person (arbitrator) hears arguments and evidence from each side and then decides
  the outcome of the dispute. Arbitration is less formal than a trial and the rules of evidence are often
  relaxed. Arbitration is effective when the parties want someone other than themselves to decide the
  outcome.

    o    Judicial Arbitration Program (non-binding): The judge can refer a case, or the parties can agree to
         use judicial arbitration. The parties select an arbitrator from a list provided by the court. If the parties
         cannot agree on an arbitrator, one will be assigned by the court. There is no fee for the arbitrator. The
         arbitrator must send the decision (award of the arbitrator) to the court. The parties have the right to
         reject the award and proceed to trial.

    o    Private Arbitration (binding and non-binding) occurs when parties involved in a dispute either
         agree or are contractually obligated. This option takes place outside of the courts and is normally
         binding meaning the arbitrator's decision is final.

                               Mediation Service Programs in Alameda County
Low-cost mediation services are available through non-profit community organizations. Trained volunteer
mediators provide these services. Contact the following organizations for more information:


SEEDS Community Resolution Center
2530 San Pablo Avenue, Suite A, Berkeley, CA 94702-1612
Telephone:(510)548-2377 Website: www.seedscrc.org
Their mission is to provide mediation, facilitation, training and education programs in our
diverse communities — Services that Encourage Effective Dialogue and Solution-making.


Center for Community Dispute Settlement
291 McLeod Street, Livermore, CA 94550
Telephones:(925)337-71751(925) 337-2915 (Spanish)
Website: www.trivalleymediation.com
CCDS provides services in the Tr -Valley area for all of Alameda County.


For Victim/Offender Restorative Justice Services
Catholic Charities of the East Bay: Oakland
433 Jefferson Street, Oakland, CA 94607 Telephone:(510) 768-3100 Website: www.cceb.org Mediation
sessions involve the youth, victim, and family members work toward a mutually agreeable restitution
agreement.




ADR Info Sheet Rev. 05/23/22                                                                          Page 2 of2
            Case 4:25-cv-03198                    Document 1-1                Filed on 07/09/25 in TXSD                  Page 40 of 43


                                                                                                                                      ALA ADR-001
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)                                                FOR COURT USE ONLY




                  . TELEPHONE NO.:                             FM NO.(Optional):
          E-MAIL ADDRESS (Optional):
             ATTORNEY FOR (Name):

SUPERIOR COURT OF CALIFORNIA, ALAMEDA COUNTY
                  STREET ADDRESS:
                  MAILING ADDRESS:
                 CITY AND ZIP CODE:
                      BRANCH NAME

PLAINTIFF/PETITIONER:
DEFENDANT/RESPONDENT:
                                                                                                         CASE NUMBER:

STIPULATION TO ATTEND ALTERNATIVE DISPUTE RESOLUTION (ADR)
AND DELAY INITIAL CASE MANAGEMENT CONFERENCE FOR 90 DAYS


               INSTRUCTIONS: All applicable boxes must be checked, and the specified information must be provided.

     This stipulation is effective when:
     •     All parties have signed and filed this stipulation with the Case Management Conference Statement at least 15 days before the
           initial case management conference.
     •     A copy of this stipulation has been received by the ADR Program Administrator, 24405 Amador Street, Hayward, CA 94544 or
           Fax to (510) 267-5727.

1.   Date complaint filed:                                       . An Initial Case Management Conference is scheduled for:

     Date:                                            Time:                                   Department:

2.   Counsel and all parties certify they have met and conferred and have selected the following ADR process (check one):

     El Court mediation                     I=1 Judicial arbitration
     ID Private mediation                   Ej Private arbitration

3.   All parties agree to complete ADR.within 90 days and certify that:
     a.    No party to the case has requested a complex civil litigation determination hearing;
     b.    All parties have been served and intend to submit to the jurisdiction of the court;
     c.    All parties have agreed to a specific plan for sufficient discovery to make the ADR process meaningful;
     d.    Copies of this stipulation and self-addressed stamped envelopes are provided for returning endorsed filed stamped copies to
           counsel and all parties;
     e.    Case management statements are submitted with this stipulation;
     f.    All parties will attend ADR conferences; and,
     g.    The court will not allow more than 90 days to complete ADR.

I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

Date:



                (TYPE OR PRINT NAME)                                          (SIGNATURE OF PLAINTIFF)



Date:




                                                                                                                                                 Page 1 of 2
 Form Approved for Mandatory Use
   Superior Court of California,       STIPULATION TO ATTEND ALTERNATIVE DISPUTE RESOLUTION (ADR)                                    Cal. Rules of Court,
                                                                                                                                     rule 3.221(0(4)
        County of Alameda
ALA ADR-001 [New January 1, 20101      A ND DELAY INITIAL CASE MANAGEMENT CONFERENCE FOR 90 DAYS
             Case 4:25-cv-03198              Document 1-1    Filed on 07/09/25 in TXSD                 Page 41 of 43

                 (TYPE OR PRINT NAME)                       (SIGNATURE OF ATTORNEY FOR PLAINTIFF)

                                                                                                                    ALA ADR-001
                                                                                                    CASE NUMBER.:
PLAINTIFF/PETITIONER:

DEFENDANT/RESPONDENT:



Date:




                 (TYPE OR PRINT NAME)                             (SIGNATURE OF DEFENDANT)



Date:




                (TYPE OR PRINT NAME)                              (SIGNATURE OF ATTORNEY FOR DEFENDANT)




                                                                                                                            Page 2 of 2
 Form Approved for Mandatory Use                                                                                Cal. Rules of Court,
   Superior Court of California,    STIPULATION TO ATTEND ALTERNATIVE DISPUTE RESOLUTION (ADR)                  rule 3.221(0(4)
       County of Alameda
ALA ADR-001 [New January 1, 2010]   AND DELAY INITIAL CASE MANAGEMENT CONFERENCE FOR 90 DAYS
           Case 4:25-cv-03198              Document 1-1            Filed on 07/09/25 in TXSD                     Page 42 of 43

                                                                                                      Reserved for Cleric's File Stamp
               SUPERIOR COURT OF CALIFORNIA
                    COUNTY OF ALAMEDA                                                                           FILED
  COURTHOUSE ADDRESS
                                                                                                    Superior Court of California
                                                                                                        County of Alameda
  Rene C. Davidson Courthouse
  Administration Building, 1221 Oak Street, Oakland, CA 94612                                              03/25/2025
  PLAINTIFF:                                                                              Clad Flike Execiike Offter/Ctrk attie 020
  JOHN E. MARICICH, JR. et al                                                                                                            Deputy
                                                                                              By.
  DEFENDANT:
  CHATTEM, INC., individually et al
                                                                                          CASE NUMBER:
               NOTICE OF CASE MANAGEMENT CONFERENCE                                           25CV116787

 TO THE PLAINTIFF(S)/ATTORNY(S) FOR PLAINTIFF(S) OF RECORD:

 You are ordered to serve all named defendants and file proofs of service on those defendants with the court within 60 days of
 the filing of the complaint (Cal. Rules of Court, 3.110(b)).

 Give notice of this conference to all other parties and file proof of service.

 Your Case Management Conference has been scheduled on:


                                  Date: 08/07/2025           Time: 1:30 PM        Dept.: 18

                                  Location: Rene C. Davidson Courthouse
                                            Administration Building, 1221 Oak Street, Oakland, CA 94612

TO DEFENDANT(S)/ATTORNEY(S) FOR DEFENDANT(S) OF RECORD:

The setting of the Case Management Conference does not exempt the defendant from filing a responsive pleading as
required by law, you must respond as stated on the summons.

TO ALL PARTIES who have appeared before the date of the conference must:

Pursuant to California Rules of Court, 3.725, a completed Case Management Statement (Judicial Council form CM-110)
must be filed and served at least 15 calendar days before the Case Management Conference. The Case Management
Statement may be filed jointly by all parties/attorneys of record or individually by each party/attorney of record.
 Meet and confer, in person or by telephone as required by Cal. Rules of Court, rule 3.724.
Post jury fees as required by Code of Civil Procedure section 631.

If you do not follow the orders above, the court may issue an order to show cause why you should not be sanctioned
under Cal. Rules of Court, rule 2.30. Sanctions may include monetary sanctions, striking pleadings or dismissal of the
action.

The judge may place a Tentative Case Management Order in your case's on-line register of actions before 'the
conference. This order may establish a discovery schedule, set a trial date or refer the case to Alternate Dispute
Resolution, such as mediation or arbitration. Check the court's eCourt Public Portal for each assigned department's
procedures regarding tentative case management orders at https://eportal.alameda.courts.ca.gov.

Expedited Jury Trials

          If the parties agree, they may try the case in an Expedited Jury Trial. Code of Civ. Proc. § 630.01 et
          seq. In short, the parties would agree to the following: 8 jurors(6 must agree); 3 peremptory
          challenges per side; 5-hour time limit per side, unless otherwise agreed and approved; one to two
          court days for completion, unless otherwise agreed and approved; high/low arrangement option; and
          limited right to appeal. For additional information, please see the following links:

                   • EJT-010-INFO* Expedited Jury Trial Information Sheet(ca.gov)
                   • EJT-008 Agreement of Parties (Mandatory Expedited Jury Trial Procedures)(ca.gov)
                   • EJT-020[Proposed] Consent Order for Voluntary Expedited Jury Trial (ca.gov)

Form Approved for Mandatory Use
Superior Court of California,               NOTICE OF
County of Alameda
                                  CASE MANAGEMENT CONFERENCE
ALA CIV-100[Rev. 10/2021]
     Case 4:25-cv-03198         Document 1-1        Filed on 07/09/25 in TXSD                 Page 43 of 43

                                                                                      Reserved for Clerk's File Stamp
           SUPERIOR COURT OF CALIFORNIA
                COUNTY OF ALAMEDA
COURTHOUSE ADDRESS:                                                                            FILED
                                                                                     Superior Court of California
Rene C. Davidson Courthouse                                                              County of Alameda
1225 Fallon Street, Oakland, CA 94612
                                                                                             03/25/2025
PLAINTIFF/PETITIONER:                                                        CIad Flare Executlie Otreer /C eft oft e Cold
JOHN E. MARICICH, JR. et at                                                    By.                                 Deputy
DEFENDANT/RESPONDENT:
CHATTEM, INC., individually et al
                                                                             CASE NUMBER:
                        CERTIFICATE OF MAILING                               25CV116787

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the attached document upon each party or counsel
named below by placing the document for collection and mailing so as to cause it to be deposited in the
United States mail at the courthouse in Oakland, California, one copy of the original filed/entered herein in
a separate sealed envelope to each address as shown below with the postage thereon fully prepaid, in
accordance with standard court practices.




   Joseph D. Satterley
   KAZAN, McCLAIN, SA'TTERLEY & GREENWOOD
   55 Harrison Street, Suite 400
   Oakland, CA 94607




                                                     Chad Finke, Executive Officer / Clerk of the Court

Dated: 04/01/2025                                     By:



                                                                   A.Kaigb a, Depaty Clerk




                                     CERTIFICATE OF MAILING
